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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                                 CASE NO. 1:24cv21285
   BLACKSIX LLC, a Florida Limited
   Liability Company,
            Plaintiffs,
   v.

   ALL AMERICAN REFINERY, INC.,
   ISLAND L.P. GAS SERVICES, INC., DBA
   PROPANE MAN,           and JESSE
   GRANTHAM,
         Defendants.
   ______________________________/

                          COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

           Plaintiff, BLACKSIX LLC (“BlackSix” or “Plaintiff”), by and through undersigned counsel,

   hereby sues Defendants, ALL AMERICAN REFINERY, INC. (“AAR”), ISLAND L.P. GAS SERVICES, INC.,

   DBA PROPANE MAN (“PROPANE MAN”) and JESSE GRANTHAM (“Grantham”) (collectively,

   “Defendants”). In support of its claims, Plaintiff alleges as follows:

                                         JURISDICTION AND VENUE

           1.      This is an action for fraud where the matter exceeds $75,000.00 and is between

   parties of different states. Accordingly, this Court has subject matter jurisdiction over this action

   pursuant to 28 U.S.C. §1332.

           2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391 because the Plaintiff is

   located within this district and has suffered harm within this district. Defendants are, upon

   information and belief, located in the United States of America, and engaged in activities and

   causing harm within this district and because a substantial part of the events giving rise to the

   claims occurred in this district.



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                                                      PARTIES

           3.      Plaintiff, BlackSix, is a Florida limited liability company with a principal address of

   1000 Brickell Plaza, Suite 3601, Miami, FL 33131.

           4.      Defendant, AAR, is a Louisiana corporation involved in oil and refined products

   distribution and logistics with its principal place of business in Hattiesburg, MS, United States,

   and US Federal Government Unique Entity ID (UEI): E7R9RL388YD7 and Commercial and

   Government Entity (CAGE) code: 83FT4.

           5.      Defendant, PROPANE MAN, is a Hawaii corporation with its principal place of

   business located at 94-171 Leonui St, Waipahu, Hawaii.

           6.      Defendant, Grantham, founded AAR in 2017 and currently serves as its President

   and upon information and belief is a citizen of and resident in the state of Mississippi .

           7.      Defendant, AAR, lists as its members Retired Colonel Richard Cantwell as CEO

   (“Cantwell”), Jeff DeRosia from Grand Isle Shipyard, Susan Sjo and Eric Malmstrom as Vice

   President of Government Contracts and Trading, and Pya Cope as CFO, and also Major Leif Rivera

   as COO as of December 2023, as shown AAR’s corporate profile attached hereto as Exhibit 1.

           8.      Defendant, PROPANE MAN’s members are Ms. Kelly M. Matson, President, Jesse

   Grantham, CEO, and Alvin Paguio, Director.

           9.      Defendants conduct business throughout the United States and within the State

   of Florida, including in this district.

                                             GENERAL ALLEGATIONS

           10.     BlackSix was founded in 2021 to source and fund projects focused on global

   commodity, venture and special situation opportunities.



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          11.    Oliver Parsons is the founder of BlackSix and has twenty years of experience in

   international trade and finance, particularly commodities and alternative investments. Mr.

   Parsons has become a leading consultant in assessing global energy developments that impact

   energy prices and related investments, and is sought after by oil companies, investors,

   governmental organizations and other industry participants.

          12.    BlackSix has invested in multiple companies including a ship building company

   based out of Dubai (“Dubai Investment”).

          13.    AAR is an oil and refined products distribution and logistics company that is

   affirmed by the US Government as a Service-Disabled Veteran Owned Small Business

   (“SDVOSB”), due to both Grantham and Cantwell’s status.

          14.    Over the past six years, AAR has been awarded numerous US Federal Government

   contracts entirely due to AAR’s SDVOSB minority status.

          15.    Today, AAR holds multiple US Federal contracts to supply diesel fuel, gasoline,

   ethanol, and propane, which have been singularly awarded to AAR because of its SDVOSB status.

          16.    Some of AAR’s US Federal buyers include the US Navy and Veterans Affairs via the

   Defense Logistics Agency and DLA Energy as shown on the attached Exhibit 2 with Issuers and

   Contracting Officers listed who include Frederick Bagley, Eric Smith, Hannah R Savine, Orlando

   Merritt, Sabrina Holland, James Clough, Matthew Womer, Sterling Matthews, Juebiline Mbandi,

   Lawrence Watson.

          17.    Grantham is a decorated army veteran who has since monetized his relationships

   with numerous government agencies to drive growth in AAR and other businesses including

   Bullock Investigations Security, which he also founded.



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          18.     In or about early-2023, Grantham was introduced to Mr. Parsons where Grantham

   made claims that he has access to considerable ongoing volumes of fuel, including gasoline, diesel

   and propane from over 40 of the most reputable domestic and international refineries such as

   Shell, BP, Total and Exxon.

          19.     In or about early-2023, Grantham suggested to Parsons that he, BlackSix and his

   substantial commodity network should invest and/or partner in a number of lucrative energy

   projects that Grantham was spearheading.

          20.     Grantham offered to become a strategic partner with Parsons and BlackSix and

   would share in the profits of these lucrative projects on the condition that substantial investment

   capital was provided with a value that mostly ranged from $10 million to $2 billion.

          21.     In order to gain trust and favor with Parsons, Grantham promoted his vast

   network of trusted relationships, which included being business partners with:

          i)      his uncle Robert Grantham CBE, a British investor and co-founder and chief

                  investment strategist of GMO, LLC, a Boston based management firm with more

                  than $100 billion in assets under management;

          ii)     his Godfather who is a retired 4-Star US Navy Admiral;

          iii)    Retired Colonel Robert Cantwell who attended West Point and had a 20-year

                  career with the US Army Corps of Engineers;

          iv)     Jeff DeRosia who has over 30 years oilfield construction experience and is

                  Operations Manager for Grand Isle Shipyard;

          v)      Major General Jill K. Faris, current Director of the Office of the Joint Surgeon

                  General;



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          vi)     Congressman Mike Ezell of Mississippi; and

          vii)    the CEO of Shell USA, who Grantham credited to his entrance into the fuel

                  industry, who gave Grantham and AAR office space in Shell’s Headquarters in

                  New Orleans, LA and with whom Grantham hunted sport.


          22.     In or around May 16, 2023, Parsons was persuaded by Grantham to meet him and

   his business partners in Honolulu, Hawaii for a three nights trip to review AAR and its purchase

   of PROPANE MAN, to meet with Ms. Kelly Matson, Founder and President of PROPANE MAN, to

   meet with Alvin Paguio, Director of PROPANE MAN, to meet at Pearl Harbor with the US Navy

   and DLA to discuss its purchase of fuel and propane from AAR and PROPANE MAN, and to meet

   with Mike Flynn, a retired US Army Lieutenant General. Parsons paid for all hotel rooms for

   himself, Grantham and his business partners, totaling $2,200 total, as shown on Exhibit 3

   attached hereto. Parsons was never reimbursed despite Grantham’s promises to do so.

          23.     In or about June 2023, Parsons was prevailed upon to introduce DS-Mineralöl

   GmbH, a German company with a distinguished 50-year legacy and 72 fuel stations, who wished

   to purchase diesel fuel. Grantham said he, Cantwell and AAR would easily be able to supply fuel

   due to AAR’s SDVOSB minority status. However, Grantham stalled for months, shifted the blame

   for the delay to Shell and BP, among other excuses, and ultimately never provided a contract,

   causing Parsons and BlackSix significant financial and reputational damage.

          24.     At around the same time, Grantham stated AAR was seeking $1.5 to $2 billion in

   investor capital to build a floating oil refinery that had been approved by the US Navy. Due to the

   military network and SDVOSB minority status that he and Cantwell brought to AAR, the Navy had

   awarded AAR a decommissioned aircraft carrier for a $1 purchase price upon which the refinery


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   would be built. Grantham stated this project would be in partnership with Grand Isle Shipyard,

   specifically Jeff DeRosia who would lead the building of the refinery and its ongoing operation at

   sea, as shown on the attached Exhibit 5.

          25.     Grantham asked Parsons and BlackSix to bring investors to this lucrative project in

   exchange for equity ownership, which BlackSix did, including one of Parsons’ most critical

   relationships from Saudi ARAMCO, but again Grantham stalled over the next months, provided

   ongoing excuses for delay, and never consummated the deal, thereby causing Parsons and

   BlackSix significant financial and reputational damage.

          26.     At around the same time, Grantham stated that AAR was seeking a $10 million

   investment for the acquisition of Stockstill Trucking Company, which would expand AAR’s fuel

   shipping and logistics network in the US, would provide a very profitable return to investors. The

   expansion plan is attached hereto as Exhibit 5. Grantham suggested that Parsons and BlackSix

   should bring a potential investor, which BlackSix did, but AAR again never made any progress

   with the deal, thereby causing Parsons and BlackSix significant financial and reputational

   damage.

          27.     On or around July 2023, Grantham stated that AAR was seeking an investment of

   $100 million to $400 million to purchase an oil refinery near Dubai, UAE, which Grantham said

   was offered to AAR due to his and Cantwell’s military experience and AAR’s SDVOSB minority

   status. Grantham asked Parsons and BlackSix for assistance in bringing a suitable investor, so

   BlackSix again involved one of Parsons’ most critical relationships from Saudi ARAMCO, but

   Grantham delayed with the deal, thereby causing Parsons and BlackSix significant financial and

   reputational damage, once again.



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          28.     In or about July 2023, Grantham proposed a propane deal whereby BlackSix would

   provide funding to Grantham of Six Hundred Thousand Dollars ($600,000), which would be

   specifically used for the purchase and sale of propane by PROPANE MAN and would give BlackSix

   10% equity ownership in PROPANE MAN. Upon sale of the propane BlackSix was to earn a return

   of one dollar ($1) per gallon sold, and the core $600,000 would be continually revolved to

   purchase more propane on a weekly basis, and so on. This was memorialized in a signed writing

   attached hereto as Exhibit 6 (“Propane Agreement”).

          29.     The Propane Agreement is drafted as being between “BlackSix LLC and Jesse

   Grantham.”

          30.     Grantham had specifically represented in June and July that he and PROPANE

   MAN had the capability and capacity to purchase and sell $600,000 worth of propane on a weekly

   basis, as furtherance to Parsons’ trip to Honolulu in May 2023.

          31.     Grantham had told Parsons on multiple occasions that AAR and PROPANE MAN

   were purchasing propane from The Gas Company, LLC dba Hawai’i Gas for $3.12 per gallon, and

   therefore $600,000 would have purchased 192,308 gallons per week, yielding a profit to BlackSix

   of $192,307.69 per week. Grantham told Parsons that his purchase price of propane would drop

   significantly from $3.12 to $2.00 per gallon starting on January 1, 2024, due to AAR’s SDVOSB

   minority status attributed to Grantham and Cantwell, and therefore $600,000 would have

   purchased 200,000 gallons per week, thereby yielding a profit to Black Six of $200,000 per week.

          32.     From August 4, 2023, to April 2, 2024, the weekly sales of propane using the

   $600,000 would have yielded $8,130,769.23 in profit. Projected profit calculation is attached

   hereto as Exhibit 7.



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          33.    As an example of similar profits generated from AAR’s businesses deals, Grantham

   highlighted AAR’s purchase and sale of fuel to the DLA and Veterans Affairs, which Grantham

   assured Parsons was a unique but realistic profit margin due to AAR’s SDVOSB minority status. A

   purchase example is attached hereto as Exhibit 8.

          34.    On August 1, 2023, BlackSix wired $600,000 to the requested Island Gas Service

   account held at the Navy Federal Credit Union.

          35.    Upon information and belief, Grantham and PROPANE MAN purchased and sold

   propane on a weekly basis and have generated the anticipated profits, however, have never

   remitted the profits to BlackSix and have declined to account to BlackSix or even provide

   confirmations of purchases or sales despite numerous requests.

          36.    In attempt to add further legitimacy to his business dealings, Grantham requested

   that Parsons meet him in Pensacola, FL on August 8, 2023, to discuss trading Propane and have

   lunch with James, a recent AAR and PROPANE MAN hire from AmeriGas who Grantham asserted

   was AmeriGas’s top performing propane salesperson for Hawaii and USA West Coast regions,

   which Parsons duly did, and paid for his own travel expenses.

          37.    At or about the same time, Grantham had heard about BlackSix’s key investment

   in the Dubai Company and requested to be allowed to invest alongside BlackSix, as the Company

   was in a “friends and family” round at that time, and open to a very limited amount of people.

   Parsons vouched for Grantham and as a result legal documents were prepared as Grantham had

   indicated that he wished to invest Two Million Dollars ($2,000,000) into the Dubai Company.




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          38.    On or about September 8, 2023, Grantham met the principals of the Dubai

   Company, in-person, in Dubai, and executed the documents subscribing to shares in exchange

   for $2,000,000, to be transmitted over the course of the following four (4) months.

          39.    Grantham never transmitted the funds, despite being contacted by counsel for

   the Dubai Company on numerous occasions.

          40.    At or around the same time, in what can only be described as a bizarre and

   misguided attempt to garner camaraderie regarding his Dubai Company investment, Grantham

   sent a self-recorded video of him engaging in sexual intercourse with an escort, which included

   his incredibly lewd language, to those engaged in the Dubai Company.

          41.    Grantham’s later failure to transmit the agreed-to $2,000,0000 caused financial

   and reputational damage to Parsons and BlackSix, and significant harm to the Dubai Company,

   including the loss of the company’s largest client, who has threatened lawsuit, and unpaid vendor

   bills and rent to their shipyard owner, also all of whom have also threatened lawsuit, and a

   earned the Dubai Company a poor reputation in a small, tightly connected industry. Moreover,

   Grantham’s sharing of his explicit sexual exploits caused significant reputational damage to

   Parsons and BlackSix, as they introduced Grantham.

          42.    In order to keep the Dubai Company solvent and in-business, Parsons and BlackSix

   have had to cover Grantham’s significant monetary shortfall.

          43.    Grantham again requested that Parsons meet him for lunch in Pensacola on

   September 15, 2023, to discuss acquiring AmeriGas (a $4 billion company), who Grantham said

   had approached him and AAR due to his and Cantwell’s SDVOSB status, and asked if Parsons




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   would be part of the Board of Directors and to serve as the public “face” of AmeriGas, to which

   he agreed.

          44.     On or about October 2023, Parsons was prevailed upon to introduce a large fuel

   station chain, Orion Oil, to AAR and Grantham in order to supply their over 150 locations.

   Grantham undertook that a contract to supply gasoline and diesel would be issued in November

   2023 for 1,000,000 gallons per month and insisted on being able to do so during multiple calls

   with the CEO of Orion Oil. Confirmation of willingness to contract is attached hereto as Exhibit 9.

   Grantham never provided the agreed upon contract, and furnished multiple excuses for the

   delay, thereby causing Parsons and BlackSix significant financial and reputation damage.

          45.     In or about November 2023, Grantham asked Parsons and BlackSix to review a

   deal where, due to Grantham and Cantwell’s SDVOSB status, AAR was going to buy medical gloves

   and resell to the US government via Jill Faris, Director of the Office of the Joint Surgeon General.

   Parsons immediately alerted Grantham that his supplier was not properly credentialed and very

   likely fake, and therefore Grantham asked Parsons for a legitimate glove supplier, which

   Grantham said he would immediately use as a substitute supplier. Parsons and BlackSix provided

   Grantham and AAR with a legitimate supplier, who held the gloves in warehouse for Grantham

   as he represented that a purchase order would be issued in November 2023, but nothing was

   heard of since that date, thereby causing Parsons and BlackSix significant reputational damage.

          46.     On 28 December 2023, Parsons asked for return of his $600,000, to which

   Grantham stated he could not do so at that time. Therefore, Parsons asked for a minimum

   $200,000 of the funds since that amount was needed for immediate year-end payroll and taxes.




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   Grantham again refused but promised that BlackSix would receive a “large profit” by January 11,

   2024.

           47.   Nothing was remitted on January 11, 2024.

           48.   For the following three (3) weeks, Grantham was almost entirely unavailable by

   phone, text message and WhatsApp message, clearly ignoring Parsons.

           49.   On February 2, 2024, concerned about AAR and Grantham’s silence, Parsons

   called Eric Malmstrom, a Vice President of Government Contracts and trader in hydrocarbon

   products at AAR (“Malmstrom”). He stated that had never heard of Parsons nor BlackSix, nor did

   he know anything about the $600,000 committed to trading propane. Further Malmstrom said

   he was not aware of the contracts that Grantham specifically stated Malmstrom was working on

   in furtherance of BlackSix’s and PROPANE MAN propane deal, nor the other gasoline and diesel

   deals BlackSix had brought to Grantham, including the 1,000,000 gallons per month fuel supply

   that Grantham had said Malmstrom was arranging for Orion Oil by November 2023. Parsons

   asked Malmstrom to let Grantham know about their conversation and Parsons’ inability to reach

   Grantham, to which Malmstrom agreed.

           50.   Grantham’s ongoing silence persisted so on February 14, 2024, Parsons spoke to

   Retired Major Leif Rivera, who Grantham has said numerous times was Chief Operating Officer

   of PROPANE MAN and AAR (“Rivera”). Parsons informed Rivera that Grantham had taken

   $600,000 from Parsons over six months earlier, and Grantham had not provided any assurance

   of the profit or whereabouts of the funds, and had been ignoring Oliver for too long. Parsons was

   told by Rivera that he had no idea about the $600,000 and did not even know Parsons had

   committed those funds, which greatly alarmed Parsons since Rivera was the COO supposedly



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   overseeing all business operations. The following day Grantham contacted Parsons by WhatsApp,

   and Parsons was also contact by Rivera stating that he could not facilitate communications any

   further.

            51.      Due to Grantham’s continued silence and lack of assurance of the whereabouts of

   the $600,000 and profits due, counsel for BlackSix sent an email to Grantham on March 2, 2024,

   copying in Malmstrom, Rivera and Cantwell, requesting provision of all documentation regarding

   the purchase and sale of propane pursuant to the agreement or confirmation as to the status of

   the monies being held.

            52.      Grantham responded on March 4, 2024, stating variously:

      i)          That he had been in communication with Parsons every week and sometimes multiple

                  times in the day.

      ii)         The reason Parsons asked counsel to contact him was due to bad information from

                  brokers, who have “cost themselves future commissions.”

            53.      BlackSix counsel responded that day, copying in Malmstrom, Rivera and

   Cantwell, informing Grantham that his email was non-responsive and reiterated the specific set

   of demands for documentation or explanation why they are not readily available and kept in

   the ordinary course of business.

            54.      Grantham failed to respond, and nobody responded on behalf of AAR or

   PROPANE MAN.

            55.       On March 8, 2024, since Grantham had still not responded, counsel for BlackSix

   emailed Grantham again, providing a response deadline on behalf of AAR and PROPANE MAN.

            56.      As a result of Defendants’ actions, Parsons and BlackSix have been harmed.



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                                          COUNT I
                         BREACH OF CONTRACT (AGAINST ALL DEFENDANTS )

          57.     BlackSix realleges and incorporates the allegations above in Paragraphs 1 through

   56 as though fully set forth herein.

          58.     BlackSix, Grantham and PROPANE MAN entered into an agreement for the

   purchase and sale of Propane.

          59.     BlackSix paid the $600,000 pursuant to the Propane Agreement.

          60.     Upon information and belief, Grantham, through PROPANE MAN and AAR,

   purchased propane using the $600,000 committed by BlackSix.

          61.     However, the Defendants have not only kept all of the profits but also the

   principal.

          62.     The Defendants breached the terms of the Propane Agreement.

          63.     As a direct and proximate result of the breaches of the Defendants, BlackSix has

   suffered damages in an amount according to proof at trial but upon information and belief to be

   in excess of $1,000,000.

                                           COUNT II
                IMPOSITION OF CONSTRUCTIVE TRUST (AGAINST ALL DEFENDANTS )

          64.     BlackSix realleges and incorporates the allegations above in Paragraphs 1 through

   63 as though fully set forth herein.

          65.     Grantham and PROPANE MAN made an express promise that BlackSix monies

   would be used for the purchase and sale of propane, which would yield a profit for BlackSix.

          66.     BlackSix transferred $600,000 in reliance thereon.



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          67.     A confidential relationship existed as between BlackSix and the Defendants.

          68.     BlackSix trusted and depended upon the Defendants to buy and sell propane, and

   remit certain profits to BlackSix;

          69.     By virtue of failing to repay the amount invested and / or the profits, the

   Defendants have been unjustly enriched.

          70.     Whereby a constructive trust should be imposed, and all monies turned over to

   BlackSix.

          WHEREFORE, Plaintiff, BlackSix, demands judgment this Complaint and an award of

   equitable relief and monetary relief against the Defendants as follows:

          i)      Imposition of a constructive trust;

          ii)     Entry of judgment for damages for Defendants’ breach of contract;

          iii)    Entry of an award of costs and attorney’s fees incurred in this action;

          iv)      Entry of an order for any such other and further relief that this Court deems just

                  and proper.

   Dated: April 5, 2024
                                                        GS2 LAW, PLLC

                                                        By: /s/ Robert Garson
                                                        Robert Garson, Esq.
                                                        FL Bar No. 1034548
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                                                                                       BlackSix v
                                                                                     Grantham et al.

                                                                                        Exhibit
                                                                                          1




                                                All American Refinery Inc
  AAR                                           9423 Old Hermitage Parkway
                                                Baton Rouge, LA 70810-6893
  ALL AMERICAN REFINERY                         (601) 335-3298




                                                            Corporate Profile
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ALL AMERICAN REFINERY INC
All American Refinery Inc. is an established Service Disabled Veterans Owned Small Business Federally and
State registered.
We have been supplying fuel products to multiple United States of America government agencies.
Our drive is to improve the quality of service to our government and to aid in rebuilding veteran businesses and
not for profits through our business.
We are a coast to coast company
Jesse Grantham          Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 17 of 103

(President)
Mr. Grantham is an Honored Veteran having served in the U.S. Army. He has been honored with several military
awards to include soldier of the year three years in a row, to include a decorated combat Veteran, to include
awards for Operation Iraqi Freedom. Mr. Grantham has successfully served as a Director for many corporations
and is highly regarded by many Government organizations. He serves as a Co-Founder of Bullock Investigations
Security Corporation, a multi state investigative and security company, holding Government contracts. He has
been on the news for multiple positive results for clients. Mr. Grantham has a broad range of knowledge in oil and
gas and paper products, textile contracts and protective services and certified trainer in protective service
techniques. Through his extensive business relations and his international business associations, he also has
consulted in the funding and security of an airport in Mexico, in process of a large expansion. Mr. Grantham has
used his resources for aiding Veterans to assist in the building and development of responsible economic, social
and natural environment development. He is introducing new, environmentally friendly technologies which allow
us to ensure the increased protection of the human and natural environment, including water purification. Mr.
Grantham’s broad range of business development experience allows him to direct many successful
enterprises. Mr. Grantham has assisted the growth in multiple companies by helping them navigate through the
GSA/ DOD/ DOJ/ DLA programs and government agencies.
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(President)
Boards & Committees
Camp Blue Bird (Hattiesburg Cancer Center) – committee member (repairs and up keep)
Camp Blue Bird (camp) – Volunteer
Patriot Family Member – Volunteer
Battle Buddy (MS) – Volunteer
MS Ballroom Assoc.- Treasurer
DALA (MX) – Special Project VP
Master Mason (MS)
VFW (Honor Guard)
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Richard Cantwell (CEO)
Ret. Colonel Richard D. Cantwell graduated from the United States Military Academy at West Point in 1975
and received his Masters Degree in Civil Engineering from the University of Texas in 1983. He also completed
the Construction Executive Program at Stanford in 1987.
In 1995.
Mr. Cantwell completed a distinguished 20-year career in the U.S. Army Corps of Engineers. In the position of
MACOM Engineer, U.S. Army Special Operations Command, he was responsible for the planning, programming,
budgeting, and execution of all facilities. He, also, supervised the long-range planning, the environmental
assessment, and the master planning for the command. Additionally, He supervised the preparation and
submission of Capital Investment Programs and Project Development Brochures. Mr. Cantwell also supervised
the planning and construction of $1.2B United States Army Special Operations facilities. Currently he serves on
the Congressional Committee Advisory Group for Terrorism and Unconventional Warfare.
Mr. Cantwell commanded a 625-man combat engineer battalion in South Korea stationed on the 38th parallel
of the Demilitarized Zone. This position required him to plan for and prepare against any aggression by the
North Koreans.
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Richard Cantwell (CEO)
Mr. Cantwell was a member of special operations teams that conducted threat and vulnerability assessments
in dozens of countries around the world. He was routinely called upon to testify and brief Congressional
committees where he earned the trust and respect of many senior leaders.
After 27 years of experience in special operations engineering, program management, and security operations,
Mr. Cantwell is a subject-matter expert on counterterrorist procedures and methodologies. Congresswoman
Sue My, Mr. Cantwell appointed Mr. Cantwell as the Chairman of her Homeland Security Task Force.
Additionally, Mr. Cantwell co-chairs the Charlotte-Mecklenburg Homeland Security Working Group with Major
General (Retired) Wynn Mabry.
Other Experience:
UAE Military Medical Upgrade Program, Abu Dhabi, UAE; Security Operation Training Facility, Ft. Bragg, North
Carolina; Special Operations Forces Headquarters, Ft. Bragg, North Carolina; 3rd Special Forces Group, Ft.
Bragg, North Carolina; 10th Special Forces Group, Ft. Carson, Colorado; Special Operations Medical Training, Ft.
Bragg, North Carolina; Civil Affairs / Pysops Group, Ft. Bragg, North Carolina; Special Operations Diving Facility,
Key West,
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Richard Cantwell (CEO)
Mr. Cantwell Served 20 years with the United States Army Corps of Engineers. He supervised the preparation
and submission of Capital Investment Programs and Project Development Brochures. He also supervised the
planning and construction of $1.2B United States Army Special Operations facilities. Currently serves on the
Congressional Committee Advisory Group for Terrorism and Unconventional Warfare.

Significant experience in the development and implementation of master plans, budgets and design criteria for
specialized mission specific facilities including, but not limited to:
§ SCIF’s § Mission Specific Training and Development Areas § Arms Rooms § Indoor Rifle Range
§ Intrusion Detection Systems § Ammunition Storage § Mission Equipment Maintenance and Preparation
Areas
§ Parachute Drying Towers § Medical Facilities § Anti-Terrorist / Force Protection Measures
                    Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 22 of 103

Jeff DeRosia
 Approximately 30 yrs. experience in the Oilfield Construction Industry while employed by
 Grand Isle Shipyard consisting of a multitude of responsibilities. My career began as a
 Welder’s Helper in 1982; shortly thereafter I became a Welder/Fitter. At the age of 24 I was
 promoted to Construction Foreman running small offshore crews and at 25 I was moved up
 to Construction Supervisor over one of the first Deep Water Platforms in the GOM working
 on the Conoco GC-TLWP-184. My career then progressed into the Piping and Structural
 Drafting side of the Fabrication end of GIS’s business Supervising Construction crews ranging
 from 10 to 100+ employees and planning upcoming jobs with engineers and Project
 Managers associated with project for ExxonMobil, ConocoPhillips GC-TLWP-184, Chevron,
 Shell (MP and SS areas), BP- (GI-43, 41&47 Field’s) and Shell Deep Water “Mars” TLP-FGC 1 &
 2 Compressor Hook-Up’s and Europa Flowline Hook-Up and Surveillance Work in 1998 to
 2000. In addition, I was afforded the opportunity to work overseas from 2004 to 2005 as a
                     Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 23 of 103

Jeff DeRosia
 Shell Construction Coordinator for 22 months off the cost of Nigeria on the Shell Bonga FPSO
 during the offshore hook-up phase of the project. My last field offshore role was working on
 the Shell Mars Production Platform as a Construction Coordinator/Work Pack Coordinator
 for the Hurricane Katrina Recovery Project. Then I moved from 2007 to 2008 to Brazil for
 Shell as a Construction Coordinator on a drill ship. Following the Shell Brazil project, I came
 back to Galliano to manage the Galliano fabrication facility from 2009 - 2010. From there, I
 moved into my current position as the Operations Manager over the Project Management
 and Offshore Solutions divisions of GIS.
 Work Experience: 1982 – Present
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Jeff DeRosia
 Mar.2010 to Present GIS Operations Manager (PM & Offshore Solutions):
I was responsible for the overall financial, safety, and quality performance of the
Project Management Group (Gretna, LA & Houston, LA) as well as the Offshore Solutions
group. In addition, I am the single point of contact for GIS’s Shell E&P work which comprises
of about $60MM in revenue annually. There are currently 120 individuals in the PM group
and 12 in the Offshore Solutions division. I also aid in customer relations for the 20+
customers we work for each and every day. Prior to this, I was responsible for developing
and managing large international engineering, procurement, and construction (EPC) and EPC
Management (EPCM) projects, and directing major domestic lump sum / direct hire
programs. My overall experience for construction and process activities internationally and
domestic included staffing issues and procedures for day to day operations of the refinery
petro chemical facilities as well as preparation for all policies, procedures
                   Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 25 of 103

Jeff DeRosia
 , process procedures, proposals, marketing and corporate and business management.
 Project activities have included the following:
   $ 80 million cleans fuel program for Chevron ( Pascagoula, MS )
   $ 330 million cleans fuel program for Shell (Convent, LA.)
   $ 750 million NRD (None Road Diesel) program Exxon Mobil (Baton Rouge, LA.)
   $ 1 Billion FCCU program for Valero (Benicia, CA.)
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Susan Sjo
previously founded and acted as CEO/CIO of St. Esprit, a consulting and Asset Management
firm and managed STACK Capital, LLC, her Family Office. At St. Esprit, she and her team have
developed new, dynamic and elegant alternative Multi-Strategy methods that translate into
superior risk-adjusted returns in both Commodity and Financial markets. Along with asset
and risk management, they also tackled strategic development and securitization projects
for their clientele.
From 1987to 1998, Susan founded and built Sjo, Inc., a Hedge Fund Manager and CTA
managing over $350 million in assets for institutions and family offices. Sjo, Inc. was ranked
by assets in the top100 Commodity Fund Advisors and over her 10 years as CEO,often ranked
in the top 10 Trading Firms for performance. She started her career as a Junior Economist
with the Federal Reserve Bank and the Chicago Mercantile Exchange (CME) before working
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Susan Sjo
at several prominent trading firms specializing in fixed income arbitrage. During this time,
she developed a quantitative trading program that resulted in the development of Sjo, Inc.,
which grew to include Global Macro Hedge Fund with other specialized investment
strategies in international fixed income.
Her successes resulted in being named to Crain’s Annual Young Leaders List, 40 Under 40,
and Sjo, Inc. was recognized as Best Commodity Fund Manager for 1991 by Business Week.
Susan has served on the Board of Directors of several of the exchanges; most notably the
New York Board of Trade, the New York Cotton Exchange, and the Advisory Board of the
FINEX Exchange. She also served on the Managed Funds Association (MFA), her alma mater
Barat College, and the environmental charity, Sustains boards as well as other firms which
she has made private equity investments
Eric Malmstrom (VP Case
                   of 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 28 of 103
Government Contracts)
Recently Eric served as Deal Architect for an International Commodity Arbitrage Trading firm
where he honed global procurement relationships and logistics skills for successful
commodity procurement awarding & delivery for DLA contracting agencies
Co-CIO of St Esprit Research and Trading, Hedge Fund Portfolio development and
management
Mr. Malmstrom has been involved in trading, strategy execution, portfolio management, risk
management , commercial real estate development & commodity markets for over 30 years
He began a trading career in Chicago in 1986 as a summer clerk for commodity trading
company Lee Stern & Co as an options trading clerk assigned to one of the largest
proprietary option arbitrage traders in the CME Currency quadrant
Eric Malmstrom (VP Case
                   of 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 29 of 103
Government Contracts)
He was recruited to Australian commodity conglomerate Elders IXL, before taking an
opportunity with the Bank of Tokyo Mitsubishi fixed income arbitrage desk which was
quickly expanding in the increasingly longer duration CME Eurodollar interest rate contracts
and became an expert there
UBS/SBC/OCA group recruited Eric in the early 90’s to launch a new interest rate trading
desk for the proprietary trading firm O’Connor & Associates, leading the desk for nearly a
decade.
The Swiss Bank Corp purchase of OCA added large trading flow and diverse global activity
A UBS merger with Swiss Bank Corp continued this growth of new counterparties and fueled
an expansion of a very large global markets operation helping propel UBS ETD to over 1000
employees
Eric Malmstrom (VP Case
                   of 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 30 of 103
Government Contracts)
Wolf International Asset Management hedge fund research specialist for global active
management funds AUM $850m Diversified Strategies, Market Neutral and Absolute Return
Portfolios
Event Driven Proprietary Trader – Cassandra Group Chicago
PREI Commercial Real Estate Developer –Site Management $23m projects completed
Held CME Trading Seat Membership over 14 years
SEC RIA, Various Economic Development Orgs, Special Cause Committees, Former Division 1
Athlete
Eric Malmstrom (VP Case
                   of 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 31 of 103
Government Contracts)
Wolf International Asset Management hedge fund research specialist for global active
management funds AUM $850m Diversified Strategies, Market Neutral and Absolute Return
Portfolios
Event Driven Proprietary Trader – Cassandra Group Chicago
PREI Commercial Real Estate Developer –Site Management $23m projects completed
Held CME Trading Seat Membership over 14 years
SEC RIA, Various Economic Development Orgs, Special Cause Committees, Former Division 1
Athlete
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Pya Cope (CFO)
General Partner with over 28 years’ experience bank management. She has directly overseen virtually every area
of bank operations, liquidity and cash management, as well as traditional business banking, retail banking
activities, insurance, marketing and human resources. Throughout her career, Pya has assisted in the acquisition
and turnaround in crisis situations in a failing financial institution. Pya is a consultant to the FDIC she has the
ability to provide banks with unique, customized solutions to improve performance and capital investment. She is
an experienced business and economic development consultant with a long track record. Her performance has
earned high levels of trust and respect when confronted with challenging circumstances. Appointed by Governor
Brennan, from the State of Maine Pya served as a Diplomat to the country of Ireland to increase economic
development between the two countries. She also was successful in legalizing the Irish moonshine Potcheen and
successful sold in in the USA under the label of Carbino Export Company. Also, to her credit she won a
International trade award for excellence in development of a new technology and Exporter of the Year for embryo
transfer. Pya has been a key link between businesses and the Government. Pya Cope is involved with
international trade as it relates to economic development. She has successfully completed many projects
internationally and has extensive international ties to governmental agencies Ms Cope is a registered Lobbyist in
Washington, DC.
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Pya Cope (CFO)
The following strong associations are also credited to Ms. Cope:
Deutsche Bank Head Underwriting Manager
FDIC Consultant: Bank Closures, Mergers and Acquisitions Importer Potcheen and instigated the legalization for
sales
J.P. Morgan Chase, Award for excellence in Management SBA, Award for Excellence in Consulting
Diplomat State Of Maine, for Irish International Economic Development
Owner ,The Finishing Touch, Maine Mall/Sold to Bed Bath and Beyond
Owner, Safari, AKA The Great Indoors, Manchester, NH
Owner, The Finishing Touch, Bangor Maine / Sold to Bed Bath & Beyond
Owner, Prisma Personal Fragrance Co
Junior League, Member, (cookbook author)
                        Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 34 of 103

Pya Cope (CFO)
Woman's Literary Union Member
Junior Achievement Member
Board of Trustee, Portland Public Library
Director, Portland Museum of Art Embryo Transfer Co.
Diplomat State Of Maine, for Irish International Economic Development Director IDB/ IDA Irish Development
Board
Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 35 of 103




   AAR                                       Thank You.
                                                   Jesse Grantham
  ALL AMERICAN REFINERY
                                                   601 544 0873
                                                   grantham@aarefinery.com
                                                   www.allamericanrefinery.net
           Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 36 of 103
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                                                                                                                                                                                                                   FAQ/Help     •   Refs   •   My Account  8 • Log In 2li
   0            DEFENSE LOGISTICS AGENCY                                                   ·              •                  ,.                    -.                                                                                                    Grantham et al.
  .. ••    •    ENTERPRISE BUSINESS SOLUTIONS

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0-Notice: · The Link - Connecting Suppliers with DLA - Issue 28 » Read Notice
 • Defense Logistics Agency Distribution Virtual Industry Day » Read Notice
 • Phishing Attacks Spoofing DLA Vendors » Read Notice
 • SBA Certification of Socioeconomic Statuses Are Required » �

 Please read notices posted on the � 1 2 . i Q § .

 Location: Home» Awards» Search Results
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 [ Awards - Awards by Award Date - Awards by Post Date ]

 All Awards/Modifications where Awardee CAGEs: 83FT4
 Sorted by Awardee CAGE Ascending




 Click on Award/Basic         Deliverv Order or Packane view to view Award or MODdAttachments. Clid< a column title to sort in ascendinn or descendinn order.
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                                                                                                     Order            Last Mod              CAGE                                                NSN/Part                            Purchase
       #                   Award/Basic Number
                                                         -·            Delivery Order Number        Counter
                                                                                                                --   Posting Date
                                                                                                                                           -Code            Award Date
                                                                                                                                                                                    -
                                                                                                                                                                          Posted Date           Number
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                                                                                                                                                                                                                                    Request    Solicitation

    ------i SPE6051908501                                                                                            02-11-2021                Wii          02-28-2019    02-28-2019        9140002474365 FUEL OIL,
                                                                                                                                                                                                          BURNER
                   » 4w;orrl/R;osir.,__,__ e ''i-···
               2 �SPE6051908501                                                                                      02-11-2021                83FT4        02-28-2019    02-28-2019        9140015240139 DIESEL FUEL
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 Ver.6.1.8                                                                                                                                                                                                                                     InW/29XnTqwVQqck99pKkQ==
     Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 37 of 103
 SOLICITATION/CONTRACT/ORDER FOR COMMERCIAL ITEMS                                                                 1. REQUISITION NUMBER                             PAGE 1 OF 9
 OFFEROR TO COMPLETE BLOCKS 12, 17, 23, 24, & 30
2. CONTRACT NO.                         3. AWARD/EFFECTIVE            4. ORDER NUMBER                             5. SOLICITATION NUMBER                      6. SOLICITATION ISSUE
                                           DATE                                                                                                                  DATE
  SPE605-19-D-8501
                                                2019 FEB 28
                                        a. NAME                                                                   b. TELEPHONE NUMBER (No collect             8. OFFER DUE DATE/
                                                                                                                     calls)                                      LOCAL TIME
7. FOR SOLICITATION
INFORMATION CALL:

9. ISSUED BY                                                 CODE     SPE605      10. THIS ACQUISITION IS                      UNRESTRICTED OR             SET ASIDE:                   % FOR:
                                                                                                                               WOMEN-OWNED SMALL BUSINESS
  DLA ENERGY                                                                              SMALL BUSINESS
                                                                                                                               (WOSB) ELIGIBLE UNDER THE WOMEN-OWNED
  POST, CAMPS, AND STATIONS
  8725 JOHN J. KINGMAN ROAD                                                               HUBZONE SMALL                        SMALL BUSINESS PROGRAM
  FORT BELVOIR VA 22060                                                                   BUSINESS
  USA                                                                                     SERVICE-DISABLED                     EDWOSB                  NAICS: 324110
  Local Admin: Sabrina Holland FPE1432 Tel: 571-767-9510
  Email: sabrina.holland@dla.mil
                                                                                          VETERAN-OWNED
                                                                                          SMALL BUSINESS                       8 (A)                   SIZE STANDARD:

11. DELIVERY FOR FOB DESTINA-           12. DISCOUNT TERMS                                                                             13b. RATING
    TION UNLESS BLOCK IS
    MARKED                                                                               13a. THIS CONTRACT IS A
                                                                                              RATED ORDER UNDER
                                                             Net 30 days                                                               14. METHOD OF SOLICITATION
                                                                                              DPAS (15 CFR 700)
       SEE SCHEDULE
                                                                                                                                            RFQ               IFB                 RFP
15. DELIVER TO                                               CODE                  16. ADMINISTERED BY                                                         CODE         SPE605

                                                                                        SEE BLOCK 9
   SEE SCHEDULE                                                                         Criticality: PAS : None



17a. CONTRACTOR/        CODE       83FT4                   FACILITY               18a. PAYMENT WILL BE MADE BY                                                 CODE         SL4701
     OFFEROR                                               CODE

   ALL AMERICAN REFINERY INC DBA                                                         DEF FIN AND ACCOUNTING SVC
   All American Refinery,Inc                                                             BSM
   9423 OLD HERMITAGE PKWY STE 1                                                         P O BOX 182317
   BATON ROUGE LA 70810-6893                                                             COLUMBUS OH 43218-2317
   USA                                                                                   USA

TELEPHONE NO.        6013353298
     17b. CHECK IF REMITTANCE IS DIFFERENT AND PUT SUCH ADDRESS IN 18b. SUBMIT INVOICES TO ADDRESS SHOWN IN BLOCK 18a UNLESS BLOCK
          OFFER                                                         BELOW IS CHECKED.      SEE ADDENDUM

      19.                                              20.                                                       21.           22.             23.                       24.
   ITEM NO.                              SCHEDULE OF SUPPLIES/SERVICES                                        QUANTITY        UNIT         UNIT PRICE                  AMOUNT




                    See Schedule




25. ACCOUNTING AND APPROPRIATION DATA                                                                                        26. TOTAL AWARD AMOUNT (For Govt. Use Only)
                                                                                                                                   $994,212.60

    27a. SOLICITATION INCORPORATES BY REFERENCE FAR 52.212-1, 52.212-4. FAR 52.212-3 AND 52.212-5 ARE ATTACHED. ADDENDA                              ARE            ARE NOT ATTACHED.

     27b. CONTRACT/PURCHASE ORDER INCORPORATES BY REFERENCE FAR 52.212-4. FAR 52.212-5 IS ATTACHED. ADDENDA                                          ARE            ARE NOT ATTACHED.

     28. CONTRACTOR IS REQUIRED TO SIGN THIS DOCUMENT AND RETURN                                          29. AWARD OF CONTRACT: REF.             ALL AMERICAN REFINERY INC DBA     OFFER
     COPIES TO ISSUING OFFICE. CONTRACTOR AGREES TO FURNISH AND
                                                                                                    DATED            2019-Jan-15
                                                                                                                        . YOUR OFFER ON SOLICITATION (BLOCK 5),
   DELIVER ALL ITEMS SET FORTH OR OTHERWISE IDENTIFIED ABOVE AND ON ANY                             INCLUDING ANY ADDITIONS OR CHANGES WHICH ARE SET FORTH ,
   ADDITIONAL SHEETS SUBJECT TO THE TERMS AND CONDITIONS SPECIFIED                                  HEREIN IS ACCEPTED AS TO ITEMS: Amendments 001-005
30a. SIGNATURE OF OFFEROR/CONTRACTOR                                               31a. UNITED STATES OF AMERICA (SIGNATURE OF CONTRACTING OFFICER)



30b. NAME AND TITLE OF SIGNER (Type or Print)                  30c. DATE SIGNED   31b. NAME OF CONTRACTING OFFICER (Type or Print)                                   31c. DATE SIGNED

                                                                                         James Clough
                                                                                                                                                                             2019 FEB 28
                                                                                         James.Clough@dla.mil

AUTHORIZED FOR LOCAL REPRODUCTION                                                                                                  STANDARD FORM 1449 (REV. 2/2012)
PREVIOUS EDITION IS NOT USABLE
                                                                                                                                          Prescribed by GSA - FAR (48 CFR) 53.212
     Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 38 of 103

      19.                                    20.                                      21.           22.           23.               24.
   ITEM NO.                     SCHEDULE OF SUPPLIES/SERVICES                       QUANTITY       UNIT       UNIT PRICE          AMOUNT




32a. QUANTITY IN COLUMN 21 HAS BEEN

   RECEIVED            INSPECTED         ACCEPTED, AND CONFORMS TO THE CONTRACT, EXCEPT AS NOTED:

32b. SIGNATURE OF AUTHORIZED GOVERNMENT               32c. DATE           32d. PRINTED NAME AND TITLE OF AUTHORIZED GOVERNMENT
    REPRESENTATIVE                                                             REPRESENTATIVE




 32e. MAILING ADDRESS OF AUTHORIZED GOVERNMENT REPRESENTATIVE             32f. TELEPHONE NUMBER OF AUTHORIZED GOVERNMENT REPRESENTATIVE



                                                                          32g. E-MAIL OF AUTHORIZED GOVERNMENT REPRESENTATIVE


33. SHIP NUMBER           34. VOUCHER NUMBER       35. AMOUNT VERIFIED     36. PAYMENT                                       37. CHECK NUMBER
                                                       CORRECT FOR

    PARTIAL       FINAL                                                          COMPLETE             PARTIAL        FINAL

 38. S/R ACCOUNT NO.      39. S/R VOUCHER NUMBER   40. PAID BY


 41a. I CERTIFY THIS ACCOUNT IS CORRECT AND PROPER FOR PAYMENT       42a. RECEIVED BY (Print)
 41b. SIGNATURE AND TITLE OF CERTIFYING OFFICER    41c. DATE
                                                                     42b. RECEIVED AT (Location)


                                                                     42c. DATE REC'D (YY/MM/DD)           42d. TOTAL CONTAINERS



                                                                                                STANDARD FORM 1449 (REV. 2/2012) BACK
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                                                              CONTINUED ON NEXT PAGE
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                                                              CONTINUED ON NEXT PAGE
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  CONTINUATION SHEET                    REFERENCE NO. OF DOCUMENT BEING CONTINUED:                                   PAGE 7 OF 9 PAGES
                                                      SPE605-19-D-8501




Form
PID Data - Custom Clause

Insert (copy and paste) text for - PID information here




Part 12 Clauses
52.204-19 INCORPORATION BY REFERENCE OF REPRESENTATIONS AND CERTIFICATIONS (DEC 2014) FAR

252.204-7009 LIMITATIONS ON THE USE OR DISCLOSURE OF THIRD-PARTY CONTRACTOR REPORTED CYBER INCIDENT
INFORMATION (OCT 2016) DFARS

252.204-7012 SAFEGUARDING COVERED DEFENSE INFORMATION AND CYBER INCIDENT REPORTING (OCT 2016) DFARS

252.215-7014 EXCEPTION FROM CERTIFIED COST OR PRICING DATA REQUIREMENTS FOR FOREIGN MILITARY SALES INDIRECT
OFFSETS (JUN 2018) DFARS

52.232-40 PROVIDING ACCELERATED PAYMENTS TO SMALL BUSINESS SUBCONTRACTORS (DEC 2013) FAR

252.232-7006 WIDE AREA WORKFLOW PAYMENT INSTRUCTIONS (MAY 2013) DFARS
As prescribed in 232.7004(b), use the following clause:
(a) Definitions. As used in this clause-
“Department of Defense Activity Address Code (DoDAAC)” is a six position code that uniquely identifies a unit, activity, or organization.
“Document type” means the type of payment request or receiving report available for creation in Wide Area WorkFlow (WAWF).
“Local processing office (LPO)” is the office responsible for payment certification when payment certification is done external to the entitlement
system.
(b) Electronic invoicing. The WAWF system is the method to electronically process vendor payment requests and receiving reports, as
authorized by DFARS 252.232-7003, Electronic Submission of Payment Requests and Receiving Reports.
(c) WAWF access. To access WAWF, the Contractor shall-
  (1) Have a designated electronic business point of contact in the System for Award Management at https://www.acquisition.gov; and
  (2) Be registered to use WAWF at https://wawf.eb.mil/ following the step-by-step procedures for self-registration available at this web site.
(d) WAWF training. The Contractor should follow the training instructions of the WAWF Web-Based Training Course and use the Practice
Training Site before submitting payment requests through WAWF. Both can be accessed by selecting the “Web Based Training” link on the
WAWF home page at https://wawf.eb.mil/
(e) WAWF methods of document submission. Document submissions may be via web entry, Electronic Data Interchange, or File Transfer
Protocol.
(f) WAWF payment instructions. The Contractor must use the following information when submitting payment requests and receiving reports
in WAWF for this contract/order:
  (1) Document type. The Contractor shall use the following document type(s).


  (Contracting Officer: Insert applicable document type(s).
  Note: If a “Combo” document type is identified but not supportable by the
  Contractor's business systems, an “Invoice” (stand-alone) and “Receiving Report”
  (stand-alone) document type may be used instead.)

                                                                                                       CONTINUED ON NEXT PAGE
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Part 12 Clauses (CONTINUED)

  (2) Inspection/acceptance location. The Contractor shall select the following inspection/acceptance location(s) in WAWF, as specified
  by the contracting officer.


  (Contracting Officer: Insert inspection and acceptance locations or “Not applicable.”)
  (3) Document routing. The Contractor shall use the information in the Routing Data Table below only to fill in applicable fields in WAWF
  when creating payment requests and receiving reports in the system.
Routing Data Table*
                                Data to be entered in
  Field Name in WAWF
                                       WAWF
  Pay Official DoDAAC
   Issue By DoDAAC
    Admin DoDAAC
  Inspect By DoDAAC
      Ship To Code
    Ship From Code
     Mark For Code
    Service Approver
       (DoDAAC)
    Service Acceptor
       (DoDAAC)
Accept at Other DoDAAC
     LPO DoDAAC
 DCAA Auditor DoDAAC
   Other DoDAAC(s)
  (*Contracting Officer: Insert applicable DoDAAC information or “See schedule”
  if multiple ship to/acceptance locations apply, or “Not applicable.”)
  (4) Payment request and supporting documentation. The Contractor shall ensure a payment request includes appropriate contract line item
  and subline item descriptions of the work performed or supplies delivered, unit price/cost per unit, fee (if applicable), and all relevant back-
  up documentation, as defined in DFARS Appendix F, (e.g. timesheets) in support of each payment request.
  (5) WAWF email notifications. The Contractor shall enter the e-mail address identified below in the “Send Additional Email Notifications”
  field of WAWF once a document is submitted in the system.


  (Contracting Officer: Insert applicable email addresses or “Not applicable.”)
(g) WAWF point of contact.
  (1) The Contractor may obtain clarification regarding invoicing in WAWF from the following contracting activity's WAWF point of contact.


  (Contracting Officer: Insert applicable information or “Not applicable.”)
  (2) For technical WAWF help, contact the WAWF helpdesk at 866-618-5988.
                                                                  (End of clause)

52.233-3 PROTEST AFTER AWARD (AUG 1996) FAR

252.244-7000 SUBCONTRACTS FOR COMMERCIAL ITEMS (JUN 2013) DFARS

52.247-34 F.O.B. DESTINATION (NOV 1991) FAR

52.253-1 COMPUTER GENERATED FORMS (JAN 1991) FAR


Attachments
List of Attachments
                                                                                                      CONTINUED ON NEXT PAGE
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Attachments (CONTINUED)


      File Name           Description
    ATTACH_OSP
ATTACH_Contract_Clause      Contra
           s
     Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 46 of 103
 SOLICITATION/CONTRACT/ORDER FOR COMMERCIAL ITEMS                                                               1. REQUISITION NUMBER                             PAGE 1 OF 10
 OFFEROR TO COMPLETE BLOCKS 12, 17, 23, 24, & 30
2. CONTRACT NO.                       3. AWARD/EFFECTIVE            4. ORDER NUMBER                             5. SOLICITATION NUMBER                       6. SOLICITATION ISSUE
                                         DATE                                                                                                                   DATE
  SPE605-20-D-4503
                                             2020 MAR 01
                                      a. NAME                                                                   b. TELEPHONE NUMBER (No collect              8. OFFER DUE DATE/
                                                                                                                   calls)                                       LOCAL TIME
7. FOR SOLICITATION
INFORMATION CALL:

9. ISSUED BY                                               CODE     SPE605      10. THIS ACQUISITION IS                      UNRESTRICTED OR              SET ASIDE:          52     % FOR:
                                                                                                                             WOMEN-OWNED SMALL BUSINESS
  DLA ENERGY                                                                            SMALL BUSINESS
                                                                                                                             (WOSB) ELIGIBLE UNDER THE WOMEN-OWNED
  POST, CAMPS, AND STATIONS
  8725 JOHN J. KINGMAN ROAD                                                             HUBZONE SMALL                        SMALL BUSINESS PROGRAM
  FORT BELVOIR VA 22060                                                                 BUSINESS
  USA                                                                                   SERVICE-DISABLED                     EDWOSB                   NAICS: 324110
  Local Admin: Matthew Womer DMW0073 Tel: 571-767-9543
  Email: Matthew.Womer@dla.mil
                                                                                        VETERAN-OWNED
                                                                                        SMALL BUSINESS                       8 (A)                    SIZE STANDARD:500

11. DELIVERY FOR FOB DESTINA-         12. DISCOUNT TERMS                                                                             13b. RATING
    TION UNLESS BLOCK IS
    MARKED                                                                             13a. THIS CONTRACT IS A
                                                                                            RATED ORDER UNDER
                                                           Net 30 days                                                               14. METHOD OF SOLICITATION
                                                                                            DPAS (15 CFR 700)
       SEE SCHEDULE
                                                                                                                                          RFQ               IFB               RFP
15. DELIVER TO                                             CODE                  16. ADMINISTERED BY                                                         CODE          SPE605

                                                                                      SEE BLOCK 9
   SEE SCHEDULE                                                                       Criticality: PAS : None



17a. CONTRACTOR/       CODE      83FT4                   FACILITY               18a. PAYMENT WILL BE MADE BY                                                 CODE          SL4701
     OFFEROR                                             CODE

   ALL AMERICAN REFINERY INC DBA                                                       DEF FIN AND ACCOUNTING SVC
   All American Refinery,Inc                                                           BSM
   9423 OLD HERMITAGE PKWY STE 1                                                       P O BOX 182317
   BATON ROUGE LA 70810-6893                                                           COLUMBUS OH 43218-2317
   USA                                                                                 USA

TELEPHONE NO.       6013353298
     17b. CHECK IF REMITTANCE IS DIFFERENT AND PUT SUCH ADDRESS IN 18b. SUBMIT INVOICES TO ADDRESS SHOWN IN BLOCK 18a UNLESS BLOCK
          OFFER                                                         BELOW IS CHECKED.      SEE ADDENDUM

      19.                                            20.                                                       21.           22.             23.                           24.
   ITEM NO.                            SCHEDULE OF SUPPLIES/SERVICES                                        QUANTITY        UNIT         UNIT PRICE                      AMOUNT




                   See Schedule




25. ACCOUNTING AND APPROPRIATION DATA                                                                                      26. TOTAL AWARD AMOUNT (For Govt. Use Only)
                                                                                                                                 $1,957,472.34

    27a. SOLICITATION INCORPORATES BY REFERENCE FAR 52.212-1, 52.212-4. FAR 52.212-3 AND 52.212-5 ARE ATTACHED. ADDENDA                            ARE            ARE NOT ATTACHED.

    27b. CONTRACT/PURCHASE ORDER INCORPORATES BY REFERENCE FAR 52.212-4. FAR 52.212-5 IS ATTACHED. ADDENDA                                         ARE            ARE NOT ATTACHED.

     28. CONTRACTOR IS REQUIRED TO SIGN THIS DOCUMENT AND RETURN                                        29. AWARD OF CONTRACT: REF.              ALL AMERICAN REFINERY             OFFER
     COPIES TO ISSUING OFFICE. CONTRACTOR AGREES TO FURNISH AND
                                                                                                  DATED            2020-Jan-07
                                                                                                                      . YOUR OFFER ON SOLICITATION (BLOCK 5),
   DELIVER ALL ITEMS SET FORTH OR OTHERWISE IDENTIFIED ABOVE AND ON ANY                           INCLUDING ANY ADDITIONS OR CHANGES WHICH ARE SET FORTH ,
   ADDITIONAL SHEETS SUBJECT TO THE TERMS AND CONDITIONS SPECIFIED                                HEREIN IS ACCEPTED AS TO ITEMS:
30a. SIGNATURE OF OFFEROR/CONTRACTOR                                             31a. UNITED STATES OF AMERICA (SIGNATURE OF CONTRACTING OFFICER)



30b. NAME AND TITLE OF SIGNER (Type or Print)                30c. DATE SIGNED   31b. NAME OF CONTRACTING OFFICER (Type or Print)                                   31c. DATE SIGNED

                                                                                       Sterling Matthews
                                                                                                                                                                           2020 JAN 30
                                                                                       Sterling.Matthews@dla.mil

AUTHORIZED FOR LOCAL REPRODUCTION                                                                                                STANDARD FORM 1449 (REV. 2/2012)
PREVIOUS EDITION IS NOT USABLE
                                                                                                                                        Prescribed by GSA - FAR (48 CFR) 53.212
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      19.                                    20.                                      21.           22.           23.               24.
   ITEM NO.                     SCHEDULE OF SUPPLIES/SERVICES                       QUANTITY       UNIT       UNIT PRICE          AMOUNT




32a. QUANTITY IN COLUMN 21 HAS BEEN

   RECEIVED            INSPECTED         ACCEPTED, AND CONFORMS TO THE CONTRACT, EXCEPT AS NOTED:

32b. SIGNATURE OF AUTHORIZED GOVERNMENT               32c. DATE           32d. PRINTED NAME AND TITLE OF AUTHORIZED GOVERNMENT
    REPRESENTATIVE                                                             REPRESENTATIVE




 32e. MAILING ADDRESS OF AUTHORIZED GOVERNMENT REPRESENTATIVE             32f. TELEPHONE NUMBER OF AUTHORIZED GOVERNMENT REPRESENTATIVE



                                                                          32g. E-MAIL OF AUTHORIZED GOVERNMENT REPRESENTATIVE


33. SHIP NUMBER           34. VOUCHER NUMBER       35. AMOUNT VERIFIED     36. PAYMENT                                       37. CHECK NUMBER
                                                       CORRECT FOR

    PARTIAL       FINAL                                                          COMPLETE             PARTIAL        FINAL

 38. S/R ACCOUNT NO.      39. S/R VOUCHER NUMBER   40. PAID BY


 41a. I CERTIFY THIS ACCOUNT IS CORRECT AND PROPER FOR PAYMENT       42a. RECEIVED BY (Print)
 41b. SIGNATURE AND TITLE OF CERTIFYING OFFICER    41c. DATE
                                                                     42b. RECEIVED AT (Location)


                                                                     42c. DATE REC'D (YY/MM/DD)           42d. TOTAL CONTAINERS



                                                                                                STANDARD FORM 1449 (REV. 2/2012) BACK
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SECTION F - DELIVERIES OR PERFORMANCE
52.247-34 F.O.B. DESTINATION (NOV 1991) FAR


SECTION I - CONTRACT CLAUSES
52.204-19 INCORPORATION BY REFERENCE OF REPRESENTATIONS AND CERTIFICATIONS (DEC 2014) FAR

252.204-7009 LIMITATIONS ON THE USE OR DISCLOSURE OF THIRD-PARTY CONTRACTOR REPORTED CYBER INCIDENT
INFORMATION (OCT 2016) DFARS

252.204-7012 SAFEGUARDING COVERED DEFENSE INFORMATION AND CYBER INCIDENT REPORTING (OCT 2016) DFARS

252.215-7014 EXCEPTION FROM CERTIFIED COST OR PRICING DATA REQUIREMENTS FOR FOREIGN MILITARY SALES INDIRECT
OFFSETS (JUN 2018) DFARS

52.232-40 PROVIDING ACCELERATED PAYMENTS TO SMALL BUSINESS SUBCONTRACTORS (DEC 2013) FAR

252.232-7006 WIDE AREA WORKFLOW PAYMENT INSTRUCTIONS (DEC 2018) DFARS
As prescribed in 232.7004(b), use the following clause:
(a) Definitions. As used in this clause-
“Department of Defense Activity Address Code (DoDAAC)” is a six position code that uniquely identifies a unit, activity, or organization.
“Document type” means the type of payment request or receiving report available for creation in Wide Area WorkFlow (WAWF).
“Local processing office (LPO)” is the office responsible for payment certification when payment certification is done external to the entitlement
system.
(b) Electronic invoicing. The WAWF system is the method to electronically process vendor payment requests and receiving reports, as
authorized by DFARS 252.232-7003, Electronic Submission of Payment Requests and Receiving Reports.
(c) WAWF access. To access WAWF, the Contractor shall-
  (1) Have a designated electronic business point of contact in the System for Award Management at https://www.acquisition.gov; and
  (2) Be registered to use WAWF at https://wawf.eb.mil/ following the step-by-step procedures for self-registration available at this web site.
(d) WAWF training. The Contractor should follow the training instructions of the WAWF Web-Based Training Course and use the Practice
Training Site before submitting payment requests through WAWF. Both can be accessed by selecting the “Web Based Training” link on the
WAWF home page at https://wawf.eb.mil/
(e) WAWF methods of document submission. Document submissions may be via web entry, Electronic Data Interchange, or File Transfer
Protocol.
(f) WAWF payment instructions. The Contractor must use the following information when submitting payment requests and receiving reports
in WAWF for this contract/order:
  (1) Document type. The Contractor shall use the following document type(s).
  E-COMBO
  (Contracting Officer: Insert applicable document type(s).
  Note: If a “Combo” document type is identified but not supportable by the
  Contractor's business systems, an “Invoice” (stand-alone) and “Receiving Report”
  (stand-alone) document type may be used instead.)
  (2) Inspection/acceptance location. The Contractor shall select the following inspection/acceptance location(s) in WAWF, as specified
  by the contracting officer.
   DESTINATION
  (Contracting Officer: Insert inspection and acceptance locations or “Not applicable.”)
  (3) Document routing. The Contractor shall use the information in the Routing Data Table below only to fill in applicable fields in WAWF


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SECTION I - CONTRACT CLAUSES (CONTINUED)

  when creating payment requests and receiving reports in the system.
Routing Data Table*
                                Data to be entered in
  Field Name in WAWF
                                       WAWF
  Pay Official DoDAAC                  SL4701
   Issue By DoDAAC                     SPE605
    Admin DoDAAC                       SPE605
  Inspect By DoDAAC
      Ship To Code
    Ship From Code
     Mark For Code
    Service Approver
       (DoDAAC)
    Service Acceptor
       (DoDAAC)
Accept at Other DoDAAC
     LPO DoDAAC
 DCAA Auditor DoDAAC
   Other DoDAAC(s)
  (*Contracting Officer: Insert applicable DoDAAC information or “See schedule”
  if multiple ship to/acceptance locations apply, or “Not applicable.”)
  (4) Payment request and supporting documentation. The Contractor shall ensure a payment request includes appropriate contract line item
  and subline item descriptions of the work performed or supplies delivered, unit price/cost per unit, fee (if applicable), and all relevant back-
  up documentation, as defined in DFARS Appendix F, (e.g. timesheets) in support of each payment request.
  (5) WAWF email notifications. The Contractor shall enter the e-mail address identified below in the “Send Additional Email Notifications”
  field of WAWF once a document is submitted in the system.
  LAWRENCE.WATSON@DLA..MIL
  (Contracting Officer: Insert applicable email addresses or “Not applicable.”)
(g) WAWF point of contact.
  (1) The Contractor may obtain clarification regarding invoicing in WAWF from the following contracting activity's WAWF point of contact.
  DLA DESCDirectDeliveryTechTeam@dla.mil
  (Contracting Officer: Insert applicable information or “Not applicable.”)
  (2) For technical WAWF help, contact the WAWF helpdesk at 866-618-5988.
                                                                  (End of clause)

52.233-3 PROTEST AFTER AWARD (AUG 1996) FAR

252.244-7000 SUBCONTRACTS FOR COMMERCIAL ITEMS (JUN 2013) DFARS

52.253-1 COMPUTER GENERATED FORMS (JAN 1991) FAR


SECTION J - LIST OF ATTACHMENTS
List of Attachments
      File Name             Description
ATTACH_SPE60520R0200 SPE60520R0200 Final w
   _AND_0001_0004      all Amendments.pdf
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 SOLICITATION/CONTRACT/ORDER FOR COMMERCIAL ITEMS                                                              1. REQUISITION NUMBER                              PAGE 1 OF 13
 OFFEROR TO COMPLETE BLOCKS 12, 17, 23, 24, & 30
2. CONTRACT NO.                       3. AWARD/EFFECTIVE           4. ORDER NUMBER                             5. SOLICITATION NUMBER                       6. SOLICITATION ISSUE
                                         DATE                                                                                                                  DATE
  SPE605-20-D-8510                           2020 AUG 31

                                      a. NAME                                                                  b. TELEPHONE NUMBER (No collect              8. OFFER DUE DATE/
                                                                                                                  calls)                                       LOCAL TIME
7. FOR SOLICITATION
INFORMATION CALL:

9. ISSUED BY                                               CODE     SPE605      10. THIS ACQUISITION IS                     UNRESTRICTED OR              SET ASIDE:                   % FOR:
                                                                                                                           WOMEN-OWNED SMALL BUSINESS
  DLA ENERGY                                                                           SMALL BUSINESS
                                                                                                                           (WOSB) ELIGIBLE UNDER THE WOMEN-OWNED
  POST, CAMPS, AND STATIONS
  8725 JOHN J. KINGMAN ROAD                                                            HUBZONE SMALL                       SMALL BUSINESS PROGRAM
  FORT BELVOIR VA 22060                                                                BUSINESS
  USA                                                                                  SERVICE-DISABLED                     EDWOSB                   NAICS: 324110
  Local Admin: Orlando MERRITT DOM0016 Tel: 571-767-7725
  Email: Orlando.Merritt@dla.mil
                                                                                       VETERAN-OWNED
                                                                                       SMALL BUSINESS                       8 (A)                    SIZE STANDARD:

11. DELIVERY FOR FOB DESTINA-         12. DISCOUNT TERMS                                                                            13b. RATING
    TION UNLESS BLOCK IS
    MARKED                                                                             13a. THIS CONTRACT IS A
                                                                                            RATED ORDER UNDER
                                                           Net 30 days                                                              14. METHOD OF SOLICITATION
                                                                                            DPAS (15 CFR 700)
       SEE SCHEDULE
                                                                                                                                         RFQ                IFB                 RFP
15. DELIVER TO                                             CODE                 16. ADMINISTERED BY                                                          CODE         SPE605

                                                                                     SEE BLOCK 9
   SEE SCHEDULE                                                                      Criticality: PAS : None



17a. CONTRACTOR/       CODE      83FT4                FACILITY                  18a. PAYMENT WILL BE MADE BY                                                  CODE        SL4701
     OFFEROR                                          CODE

   ALL AMERICAN REFINERY INC DBA                                                      DEF FIN AND ACCOUNTING SVC
   All American Refinery,Inc                                                          BSM
   9423 OLD HERMITAGE PKWY STE 1                                                      P O BOX 182317
   BATON ROUGE LA 70810-6893                                                          COLUMBUS OH 43218-2317
   USA                                                                                USA

TELEPHONE NO.       6013353298
     17b. CHECK IF REMITTANCE IS DIFFERENT AND PUT SUCH ADDRESS IN 18b. SUBMIT INVOICES TO ADDRESS SHOWN IN BLOCK 18a UNLESS BLOCK
          OFFER                                                         BELOW IS CHECKED.      SEE ADDENDUM

      19.                                            20.                                                      21.           22.             23.                        24.
   ITEM NO.                            SCHEDULE OF SUPPLIES/SERVICES                                       QUANTITY        UNIT         UNIT PRICE                   AMOUNT




                   See Schedule




25. ACCOUNTING AND APPROPRIATION DATA                                                                                     26. TOTAL AWARD AMOUNT (For Govt. Use Only)
                                                                                                                                $1,775,800.80

    27a. SOLICITATION INCORPORATES BY REFERENCE FAR 52.212-1, 52.212-4. FAR 52.212-3 AND 52.212-5 ARE ATTACHED. ADDENDA                           ARE             ARE NOT ATTACHED.

    27b. CONTRACT/PURCHASE ORDER INCORPORATES BY REFERENCE FAR 52.212-4. FAR 52.212-5 IS ATTACHED. ADDENDA                                        ARE             ARE NOT ATTACHED.

     28. CONTRACTOR IS REQUIRED TO SIGN THIS DOCUMENT AND RETURN                                       29. AWARD OF CONTRACT: REF.              ALL AMERICAN REFINERY INC DBA     OFFER
     COPIES TO ISSUING OFFICE. CONTRACTOR AGREES TO FURNISH AND
                                                                                                 DATED            2020-May-29
                                                                                                                     . YOUR OFFER ON SOLICITATION (BLOCK 5),
  DELIVER ALL ITEMS SET FORTH OR OTHERWISE IDENTIFIED ABOVE AND ON ANY                           INCLUDING ANY ADDITIONS OR CHANGES WHICH ARE SET FORTH ,
  ADDITIONAL SHEETS SUBJECT TO THE TERMS AND CONDITIONS SPECIFIED                                HEREIN IS ACCEPTED AS TO ITEMS: Amd 0001 - 0009
30a. SIGNATURE OF OFFEROR/CONTRACTOR                                            31a. UNITED STATES OF AMERICA (SIGNATURE OF CONTRACTING OFFICER)



30b. NAME AND TITLE OF SIGNER (Type or Print)                30c. DATE SIGNED   31b. NAME OF CONTRACTING OFFICER (Type or Print)                                   31c. DATE SIGNED

                                                                                      Juebiline Mbandi
                                                                                                                                                                          2020 AUG 31
                                                                                      Juebiline.Mbandi@dla.mil

AUTHORIZED FOR LOCAL REPRODUCTION                                                                                               STANDARD FORM 1449                     (REV.
PREVIOUS EDITION IS NOT USABLE
                                                                                                                                       Prescribed by GSA - FAR (48 CFR) 53.212
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      19.                                    20.                                      21.           22.           23.                 24.
   ITEM NO.                     SCHEDULE OF SUPPLIES/SERVICES                       QUANTITY       UNIT       UNIT PRICE            AMOUNT




32a. QUANTITY IN COLUMN 21 HAS BEEN

   RECEIVED            INSPECTED         ACCEPTED, AND CONFORMS TO THE CONTRACT, EXCEPT AS NOTED:

32b. SIGNATURE OF AUTHORIZED GOVERNMENT               32c. DATE           32d. PRINTED NAME AND TITLE OF AUTHORIZED GOVERNMENT
    REPRESENTATIVE                                                             REPRESENTATIVE




 32e. MAILING ADDRESS OF AUTHORIZED GOVERNMENT REPRESENTATIVE             32f. TELEPHONE NUMBER OF AUTHORIZED GOVERNMENT REPRESENTATIVE



                                                                          32g. E-MAIL OF AUTHORIZED GOVERNMENT REPRESENTATIVE


33. SHIP NUMBER           34. VOUCHER NUMBER       35. AMOUNT VERIFIED     36. PAYMENT                                       37. CHECK NUMBER
                                                       CORRECT FOR

    PARTIAL       FINAL                                                          COMPLETE             PARTIAL        FINAL

 38. S/R ACCOUNT NO.      39. S/R VOUCHER NUMBER   40. PAID BY


 41a. I CERTIFY THIS ACCOUNT IS CORRECT AND PROPER FOR PAYMENT       42a. RECEIVED BY (Print)
 41b. SIGNATURE AND TITLE OF CERTIFYING OFFICER    41c. DATE
                                                                     42b. RECEIVED AT (Location)


                                                                     42c. DATE REC'D (YY/MM/DD)           42d. TOTAL CONTAINERS



                                                                                                    STANDARD FORM 1449            (REV. 2/2012)
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SECTION F - DELIVERIES OR PERFORMANCE
52.247-34 F.O.B. DESTINATION (NOV 1991) FAR


SECTION I - CONTRACT CLAUSES
52.204-19 INCORPORATION BY REFERENCE OF REPRESENTATIONS AND CERTIFICATIONS (DEC 2014) FAR
252.204-7009 LIMITATIONS ON THE USE OR DISCLOSURE OF THIRD-PARTY CONTRACTOR REPORTED CYBER INCIDENT
INFORMATION (OCT 2016) DFARS
252.204-7012 SAFEGUARDING COVERED DEFENSE INFORMATION AND CYBER INCIDENT REPORTING (DEC 2019) DFARS
252.215-7014 EXCEPTION FROM CERTIFIED COST OR PRICING DATA REQUIREMENTS FOR FOREIGN MILITARY SALES INDIRECT
OFFSETS (JUN 2018) DFARS
52.232-40 PROVIDING ACCELERATED PAYMENTS TO SMALL BUSINESS SUBCONTRACTORS (DEC 2013) FAR
252.232-7006 WIDE AREA WORKFLOW PAYMENT INSTRUCTIONS (DEC 2018) DFARS
(a) Definitions. As used in this clause-
“Department of Defense Activity Address Code (DoDAAC)” is a six position code that uniquely identifies a unit, activity, or organization.
“Document type” means the type of payment request or receiving report available for creation in Wide Area WorkFlow (WAWF).
“Local processing office (LPO)” is the office responsible for payment certification when payment certification is done external to the entitlement
system.
(b) Electronic invoicing. The WAWF system is the method to electronically process vendor payment requests and receiving reports, as
authorized by DFARS 252.232-7003, Electronic Submission of Payment Requests and Receiving Reports.
(c) WAWF access. To access WAWF, the Contractor shall-
   (1) Have a designated electronic business point of contact in the System for Award Management at https://www.acquisition.gov; and
   (2) Be registered to use WAWF at https://wawf.eb.mil/ following the step-by-step procedures for self-registration available at this web site.
(d) WAWF training. The Contractor should follow the training instructions of the WAWF Web-Based Training Course and use the Practice
Training Site before submitting payment requests through WAWF. Both can be accessed by selecting the “Web Based Training” link on the
WAWF home page at https://wawf.eb.mil/
(e) WAWF methods of document submission. Document submissions may be via web entry, Electronic Data Interchange, or File Transfer
Protocol.
(f) WAWF payment instructions. The Contractor must use the following information when submitting payment requests and receiving reports
in WAWF for this contract/order:
   (1) Document type. The Contractor shall use the following document type(s).


   (Contracting Officer: Insert applicable document type(s).
   Note: If a “Combo” document type is identified but not supportable by the Contractor's business systems, an “Invoice” (stand-alone) and
   “Receiving Report” (stand-alone) document type may be used instead.)
   (2) Inspection/acceptance location. The Contractor shall select the following inspection/acceptance location(s) in WAWF, as specified
   by the contracting officer.


   (Contracting Officer: Insert inspection and acceptance locations or “Not applicable.”)
  (3) Document routing. The Contractor shall use the information in the Routing Data Table below only to fill in applicable fields in WAWF
  when creating payment requests and receiving reports in the system.
Routing Data Table*

                                Data to be entered in
  Field Name in WAWF
                                       WAWF
  Pay Official DoDAAC                  SL4701
   Issue By DoDAAC                     SPE605
    Admin DoDAAC                       SPE605
  Inspect By DoDAAC              SEE SCHEDULE
      Ship To Code               SEE SCHEDULE
    Ship From Code

                                                                                                       CONTINUED ON NEXT PAGE
      Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 68 of 103
 CONTINUATION SHEET                    REFERENCE NO. OF DOCUMENT BEING CONTINUED:                                   PAGE 13 OF 13 PAGES
                                                     SPE605-20-D-8510

SECTION I - CONTRACT CLAUSES (CONTINUED)

                               Data to be entered in
  Field Name in WAWF
                                      WAWF
    Mark For Code
   Service Approver
       (DoDAAC)
   Service Acceptor              SEE SCHEDULE
       (DoDAAC)
Accept at Other DoDAAC
    LPO DoDAAC
 DCAA Auditor DoDAAC
   Other DoDAAC(s)
  (*Contracting Officer: Insert applicable DoDAAC information or “See schedule” if multiple ship to/acceptance locations apply, or “Not
  applicable.”)
  (4) Payment request and supporting documentation. The Contractor shall ensure a payment request includes appropriate contract line
  item and subline item descriptions of the work performed or supplies delivered, unit price/cost per unit, fee (if applicable), and all relevant
  back-up documentation, as defined in DFARS Appendix F, (e.g. timesheets) in support of each payment request.
  (5) WAWF email notifications. The Contractor shall enter the e-mail address identified below in the “Send Additional Email Notifications”
  field of WAWF once a document is submitted in the system.


  (Contracting Officer: Insert applicable email addresses or “Not applicable.”)
(g) WAWF point of contact.
  (1) The Contractor may obtain clarification regarding invoicing in WAWF from the following contracting activity's WAWF point of contact.


  (Contracting Officer: Insert applicable information or “Not applicable.”)
  (2) For technical WAWF help, contact the WAWF helpdesk at 866-618-5988.
                                                  (End of clause)
52.233-3 PROTEST AFTER AWARD (AUG 1996) FAR
252.244-7000 SUBCONTRACTS FOR COMMERCIAL ITEMS (JUN 2013) DFARS
52.253-1 COMPUTER GENERATED FORMS (JAN 1991) FAR
252.204-7018 PROHIBITION ON THE ACQUISITION OF COVERED DEFENSE TELECOMMUNICATIONS EQUIPMENT OR SERVICES
(DEC 2019) DFARS
  Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 69 of 103
                                                                              Case
                                                                                                                     BlackSix v
                                                                                                                   Grantham et al.
Subject           Reservation #CI4DZRWU for Airport
                  Honolulu Hotel                                                                                      Exhibit
                                                                                                                        3
From              reservations@outrigger.com
                  <reservations@outrigger.com>
To:               <OJPGEORGETOWN@GMAIL.COM>
Date              Today at 12:25 PM
Your reservation has been confirmed




                                                                                        HOTELS & RESORTS | EVENTS | HELP




      Your trip to Airport Honolulu Hotel has been confirmed.

      Welcome OLIVER PARSONS
      Thank you for booking a trip with us. We look forward to welcoming you on Tuesday, May 16, 2023.




      Your Trip Information
      DESTINATION INFORMATION

      Airport Honolulu Hotel
      3401 North Nimitz Highway, Honolulu, Hawaii
      Tel:                              1-808-836-0661
      Email:                            hah.reservations@outrigger.com


      ARRIVAL
      Arrival Date:                     Tuesday, May 16, 2023
      Check-in:                         15:00 (3:00 PM)


      DEPARTURE

      Departure Date:                   Thursday, May 18, 2023
      Check-out:                        11:00 (11:00 AM)
Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 70 of 103
 RESERVATION INFORMATION
 Confirmation Number:                  CI4DZRWU
 Loyalty Number:
 Room Type Reserved:                   Superior - 1 King Bed
 Rate Type:                            Flexible Rate.

                                               Stress-free rate
                                               No penalties if your plans change up to 72 hours of your stay

 Rooms:                                1
 Adults:                               1
 Children:                             0


 Payment Information
 TOTAL ROOM COST

 Number of Nights:                     2
 Number of Rooms:                      1
 Daily Room Rate:                      USD 199.00
 Room Charges Subtotal:                USD 398.00
 Estimated Charges:                    USD 20.00


 Estimated Taxes:                      USD 75.10


 *Total Room Cost:                     USD 493.10



 PACKAGE ADD-ONS

 Package Add-on:
 Package Cost:
 Package Taxes:


 *Total Package Cost:




 Reservation Policies*
 DEPOSIT AND CANCELLATION POLICY

 A reservation is guaranteed with a valid credit or debit card. Major credit and debit cards are accepted. No Shows and Cancellations made
 72 to 0 hours prior to arrival are subject to a charge of first night's room and tax


 For additional reservation policy details, contact our support team: 1-866-956-4262.


 AMENITY CHARGE

 A charge of $10.00 USD per day, per room, plus taxes included above in the Estimated Cost of Stay will be charged at check out.




 GUEST SERVICES
 Visit our website for parking policies and other on-site services. GUEST SERVICES ›
Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 71 of 103

 *Reservation policies and taxes are subject to change without notice. Estimated taxes include all applicable 10.25% TAT; 4.712% GET and
 3% County TAT Taxes for Occupancy.




                         MORE WAYS TO ENJOY YOUR TRIP
                                                                         PLAN YOUR BEST VACATION
                                                                         Create memories that last a lifetime. Outrigger Activities, your local
                                                                         concierge expert, will help you find and book your next adventure.

                                                                         BOOK ACTIVITIES ›




                                                                         EXPLORE WITH ENTERPRISE RENT-A-CAR
                                                                         Save more. Book a rental car online with Outrigger and get special deals
                                                                         with our preferred partners.

                                                                         BOOK NOW ›




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  Your privacy is important to us. See our privacy policy for details.

  You are receiving this message regarding your upcoming reservation with Outrigger Hotels and Resorts.

  All $ values are in USD unless indicated. Rates cannot be combined with other offers. Subject to availability and change. Other restrictions may
  apply. Taxes are not included in above rates, unless indicated.

  If a guest chooses to secure a reservation or place a room deposit upon check-in with a debit card/credit card, the financial institution that issued
  the card will typically place a hold on funds equal to the total cost of the guest’s entire itinerary including room, tax and other related expenses. The
  financial institution’s policies and practices govern the manner and timing of the release of any hold on funds. Outrigger is also not responsible for
  any overdraft charges or other fees that may result from the financial institution’s policies and practices.

  Outrigger Hotels and Resorts | 2375 Kuhio Ave. Honolulu, HI, 96815, United States
  Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 72 of 103

Subject           Reservation #CI4DZROD for Airport
                  Honolulu Hotel
From              reservations@outrigger.com
                  <reservations@outrigger.com>
To:               <OJPGEORGETOWN@GMAIL.COM>
Date              Today at 12:24 PM
Your reservation has been confirmed




                                                                                        HOTELS & RESORTS | EVENTS | HELP




      Your trip to Airport Honolulu Hotel has been confirmed.

      Welcome OLIVER PARSONS
      Thank you for booking a trip with us. We look forward to welcoming you on Tuesday, May 16, 2023.




      Your Trip Information
      DESTINATION INFORMATION

      Airport Honolulu Hotel
      3401 North Nimitz Highway, Honolulu, Hawaii
      Tel:                              1-808-836-0661
      Email:                            hah.reservations@outrigger.com


      ARRIVAL
      Arrival Date:                     Tuesday, May 16, 2023
      Check-in:                         15:00 (3:00 PM)


      DEPARTURE

      Departure Date:                   Thursday, May 18, 2023
      Check-out:                        11:00 (11:00 AM)
Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 73 of 103
 RESERVATION INFORMATION
 Confirmation Number:                  CI4DZROD
 Loyalty Number:                       328858764
 Room Type Reserved:                   Superior - 1 King Bed
 Rate Type:                            Flexible Rate.

                                               Stress-free rate
                                               No penalties if your plans change up to 72 hours of your stay

 Rooms:                                1
 Adults:                               1
 Children:                             0


 Payment Information
 TOTAL ROOM COST

 Number of Nights:                     2
 Number of Rooms:                      1
 Daily Room Rate:                      USD 199.00
 Room Charges Subtotal:                USD 398.00
 Estimated Charges:                    USD 20.00


 Estimated Taxes:                      USD 75.10


 *Total Room Cost:                     USD 493.10



 PACKAGE ADD-ONS

 Package Add-on:
 Package Cost:
 Package Taxes:


 *Total Package Cost:




 Reservation Policies*
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 72 to 0 hours prior to arrival are subject to a charge of first night's room and tax


 For additional reservation policy details, contact our support team: 1-866-956-4262.


 AMENITY CHARGE

 A charge of $10.00 USD per day, per room, plus taxes included above in the Estimated Cost of Stay will be charged at check out.




 GUEST SERVICES
 Visit our website for parking policies and other on-site services. GUEST SERVICES ›
Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 74 of 103

 *Reservation policies and taxes are subject to change without notice. Estimated taxes include all applicable 10.25% TAT; 4.712% GET and
 3% County TAT Taxes for Occupancy.




                         MORE WAYS TO ENJOY YOUR TRIP
                                                                         PLAN YOUR BEST VACATION
                                                                         Create memories that last a lifetime. Outrigger Activities, your local
                                                                         concierge expert, will help you find and book your next adventure.

                                                                         BOOK ACTIVITIES ›




                                                                         EXPLORE WITH ENTERPRISE RENT-A-CAR
                                                                         Save more. Book a rental car online with Outrigger and get special deals
                                                                         with our preferred partners.

                                                                         BOOK NOW ›




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  the card will typically place a hold on funds equal to the total cost of the guest’s entire itinerary including room, tax and other related expenses. The
  financial institution’s policies and practices govern the manner and timing of the release of any hold on funds. Outrigger is also not responsible for
  any overdraft charges or other fees that may result from the financial institution’s policies and practices.

  Outrigger Hotels and Resorts | 2375 Kuhio Ave. Honolulu, HI, 96815, United States
  Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 75 of 103

Subject           Reservation #CI4DZRO0 for Airport
                  Honolulu Hotel
From              reservations@outrigger.com
                  <reservations@outrigger.com>
To:               <OJPGEORGETOWN@GMAIL.COM>
Date              Today at 12:26 PM
Your reservation has been confirmed




                                                                                        HOTELS & RESORTS | EVENTS | HELP




      Your trip to Airport Honolulu Hotel has been confirmed.

      Welcome OLIVER PARSONS
      Thank you for booking a trip with us. We look forward to welcoming you on Tuesday, May 16, 2023.




      Your Trip Information
      DESTINATION INFORMATION

      Airport Honolulu Hotel
      3401 North Nimitz Highway, Honolulu, Hawaii
      Tel:                              1-808-836-0661
      Email:                            hah.reservations@outrigger.com


      ARRIVAL
      Arrival Date:                     Tuesday, May 16, 2023
      Check-in:                         15:00 (3:00 PM)


      DEPARTURE

      Departure Date:                   Thursday, May 18, 2023
      Check-out:                        11:00 (11:00 AM)
Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 76 of 103
 RESERVATION INFORMATION
 Confirmation Number:                  CI4DZRO0
 Loyalty Number:
 Room Type Reserved:                   Superior - 2 Double Beds
 Rate Type:                            Flexible Rate.

                                               Stress-free rate
                                               No penalties if your plans change up to 72 hours of your stay

 Rooms:                                1
 Adults:                               1
 Children:                             0


 Payment Information
 TOTAL ROOM COST

 Number of Nights:                     2
 Number of Rooms:                      1
 Daily Room Rate:                      USD 189.00
 Room Charges Subtotal:                USD 378.00
 Estimated Charges:                    USD 20.00


 Estimated Taxes:                      USD 71.50


 *Total Room Cost:                     USD 469.50



 PACKAGE ADD-ONS

 Package Add-on:
 Package Cost:
 Package Taxes:


 *Total Package Cost:




 Reservation Policies*
 DEPOSIT AND CANCELLATION POLICY

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Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 77 of 103

 *Reservation policies and taxes are subject to change without notice. Estimated taxes include all applicable 10.25% TAT; 4.712% GET and
 3% County TAT Taxes for Occupancy.




                         MORE WAYS TO ENJOY YOUR TRIP
                                                                         PLAN YOUR BEST VACATION
                                                                         Create memories that last a lifetime. Outrigger Activities, your local
                                                                         concierge expert, will help you find and book your next adventure.

                                                                         BOOK ACTIVITIES ›




                                                                         EXPLORE WITH ENTERPRISE RENT-A-CAR
                                                                         Save more. Book a rental car online with Outrigger and get special deals
                                                                         with our preferred partners.

                                                                         BOOK NOW ›




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  Outrigger Hotels and Resorts | 2375 Kuhio Ave. Honolulu, HI, 96815, United States
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                                                                                          Case
                                                                                       BlackSix v
                                                                                     Grantham et al.

                                                                                        Exhibit
                                                                                          4
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                                                                                Case
                                                                                                         BlackSix v
                                                                                                       Grantham et al.

                                    All American Refinery, Inc.                                           Exhibit
                                                                                                            5

                                    1318 Hardy St 2nd Floor       Phone:    +1 (601) 544-0873
                                    Hattiesburg, MS 39401         Fax:      +1 (855) 401-2040
                                    United States of America      E-Mail:    Grantham@aarefinery.com




The following is an outline overview on the All American Refinery (AAR) opportunities and revenue to be
generated from the Purchase/Acquisition of the Stockstill Trucking Company:

Upon Final Purchase/Acquisition of Stockstill Trucking Co.

   1. 90 days to convert to Stockstill into SDVOSB (Service Disabled Veteran Owned Small Business)
      Entity
   2. Bid on multiple DLA & GSA transportation contracts (equipment)
   3. Bid on multiple VA and DON contracts (equipment)
   4. Bid on all 50 states for National Guard and Army Reserve transport contracts (equipment)
   5. Bid on all 50 states NAVY and Air Force Reserve transport contracts (equipment)
   6. Bullets 1 through 5 represents over one-billion dollars ($1B) of open contracts in 2023
   7. Take full advantage of Government Sole Source Set-Aside Awards specifically set-aside for
      SDVOSB’s

Fuel DoD Contracts
   1. Hawaii sixty-million ($60 million) plus in transportation fuel RFQ’s
         a. Fuel Rigs (2) assigned to Pearl Harbour to transport and wet hose fuels
         b. Air craft, vehicles, aircraft and vessels (all loaded by truck)
         c. Multiple “individual awards and set-aside ops”, including fuel service, transport and/or wet
            hose
   2. Main Land USA
         a. Two and four Fuel trucks to be strategically placed at ten (10) terminals to deliver AAR fuel
            contracts with DoD

Existing Business & Trucking Contracts (currently being serviced by Stockstill Trucking Co.)

   3. Trucking company already holds active service contracts producing $200k to $400k a week in
      receivables



Note: Summary encompasses a 90 day, 120 day, 6 month, 12 month, and 5 year plan…




                             AAR 1318 Hardy St 2nd Floor, Hattiesburg, MS 39401
                                    Web: https://allamericanrefinery.com
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                                                                                          Case
                                                                                       BlackSix v
                                                                                     Grantham et al.

                                                                                        Exhibit
                                                                                          6
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                                                                                 Case
                                                                                                                                BlackSix v
                                                                                                                              Grantham et al.

                                                                                                                                    Exhibit
                                        Propane Profit Model - Propane Man / AAR / BLKSIX                                             7

 Funds committed       $600,000

 LPG Purchase Price / Gallon
  Aug - Dec 2023       $3.12
  Jan 2024 onward      $2.00

                                                         Purchase Price    Weekly Gallons
 Purchase Date         Sale Date      Funds Committed    per Gallon        Purchased and Sold    Profit per gallon   Total Profit
 Aug 4, 2023           Aug 8, 2023    $600,000           $3.12             192,308               $1.00               $192,307.69
 Aug 11, 2023          Aug 15, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Aug 18, 2023          Aug 22, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Aug 25, 2023          Aug 29, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Sep 1, 2023           Sep 5, 2023    $600,000           $3.12             192,308               $1.00               $192,307.69
 Sep 8, 2023           Sep 12, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Sep 15, 2023          Sep 19, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Sep 22, 2023          Sep 26, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Sep 29, 2023          Oct 3, 2023    $600,000           $3.12             192,308               $1.00               $192,307.69
 Oct 6, 2023           Oct 10, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Oct 13, 2023          Oct 17, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Oct 20, 2023          Oct 24, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Oct 27, 2023          Oct 31, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Nov 3, 2023           Nov 7, 2023    $600,000           $3.12             192,308               $1.00               $192,307.69
 Nov 10, 2023          Nov 14, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Nov 17, 2023          Nov 21, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Nov 24, 2023          Nov 28, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Dec 1, 2023           Dec 5, 2023    $600,000           $3.12             192,308               $1.00               $192,307.69
 Dec 8, 2023           Dec 12, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Dec 15, 2023          Dec 19, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Dec 22, 2023          Dec 26, 2023   $600,000           $3.12             192,308               $1.00               $192,307.69
 Dec 29, 2023          Jan 2, 2024    $600,000           $3.12             192,308               $1.00               $192,307.69
 Jan 5, 2024           Jan 9, 2024    $600,000           $2.00             300,000               $1.00               $300,000.00
 Jan 12, 2024          Jan 16, 2024   $600,000           $2.00             300,000               $1.00               $300,000.00
 Jan 19, 2024          Jan 23, 2024   $600,000           $2.00             300,000               $1.00               $300,000.00
 Jan 26, 2024          Jan 30, 2024   $600,000           $2.00             300,000               $1.00               $300,000.00
 Feb 2, 2024           Feb 6, 2024    $600,000           $2.00             300,000               $1.00               $300,000.00
 Feb 9, 2024           Feb 13, 2024   $600,000           $2.00             300,000               $1.00               $300,000.00
 Feb 16, 2024          Feb 20, 2024   $600,000           $2.00             300,000               $1.00               $300,000.00
 Feb 23, 2024          Feb 27, 2024   $600,000           $2.00             300,000               $1.00               $300,000.00
 Mar 1, 2024           Mar 5, 2024    $600,000           $2.00             300,000               $1.00               $300,000.00
 Mar 8, 2024           Mar 12, 2024   $600,000           $2.00             300,000               $1.00               $300,000.00
 Mar 15, 2024          Mar 19, 2024   $600,000           $2.00             300,000               $1.00               $300,000.00
 Mar 22, 2024          Mar 26, 2024   $600,000           $2.00             300,000               $1.00               $300,000.00
 Mar 29, 2024          Apr 2, 2024    $600,000           $2.00             300,000               $1.00               $300,000.00

                                                                                                Profit Earned        $8,130,769.23
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                                                                            of 103
                                                                           BlackSix v
                                                                         Grantham et al.

                                                                            Exhibit
                                                                              8
        ISSUED BY:    Defense Logistics Agency (DLA) Energy
          OFFEROR:    All American Refinery Inc
         DELIVERY:    Veterans Affairs (VA) Medical
       CONTRACT #:    SPE605-20-D-8510
    Effective Date:   10/01/2020 - 09/30/2025


    AWARD SCHEDULE:    Base Price    Award Price   Margin $   Margin %
                       $1.54         $2.28         $0.73      32%
                       $1.42         $2.52         $1.09      43%
                       $1.75         $1.91         $0.16      9%
                       $1.66         $1.77         $0.11      6%
                       $1.64         $2.09         $0.45      21%
                       $1.31         $2.07         $0.75      36%
                       $1.79         $2.18         $0.39      18%
                       $1.69         $1.79         $0.10      6%
                                                              21%
     Case 1:24-cv-21285-KMW Document 1 Entered on FLSD Docket 04/05/2024 Page 90 of 103
 SOLICITATION/CONTRACT/ORDER FOR COMMERCIAL ITEMS                                                              1. REQUISITION NUMBER                           PAGE 1 OF 13
 OFFEROR TO COMPLETE BLOCKS 12, 17, 23, 24, & 30
2. CONTRACT NO.                       3. AWARD/EFFECTIVE           4. ORDER NUMBER                             5. SOLICITATION NUMBER                     6. SOLICITATION ISSUE
                                         DATE                                                                                                                DATE
  SPE605-20-D-8510                            2020 AUG 31

                                      a. NAME                                                                  b. TELEPHONE NUMBER (No collect            8. OFFER DUE DATE/
                                                                                                                  calls)                                     LOCAL TIME
7. FOR SOLICITATION
INFORMATION CALL:

9. ISSUED BY                                               CODE     SPE605      10. THIS ACQUISITION IS                     UNRESTRICTED OR             SET ASIDE:               % FOR:
                                                                                                                           WOMEN-OWNED SMALL BUSINESS
  DLA ENERGY                                                                           SMALL BUSINESS
                                                                                                                           (WOSB) ELIGIBLE UNDER THE WOMEN-OWNED
  POST, CAMPS, AND STATIONS
  8725 JOHN J. KINGMAN ROAD                                                            HUBZONE SMALL                       SMALL BUSINESS PROGRAM
  FORT BELVOIR VA 22060                                                                BUSINESS
  USA                                                                                  SERVICE-DISABLED                     EDWOSB                  NAICS: 324110
  Local Admin: Orlando MERRITT DOM0016 Tel: 571-767-7725
                                                                                       VETERAN-OWNED
  Email: Orlando.Merritt@dla.mil                                                                                            8 (A)                   SIZE STANDARD:
                                                                                       SMALL BUSINESS
11. DELIVERY FOR FOB DESTINA-         12. DISCOUNT TERMS                                                                            13b. RATING
    TION UNLESS BLOCK IS
    MARKED                                                                             13a. THIS CONTRACT IS A
                                                                                            RATED ORDER UNDER
                                                           Net 30 days                                                              14. METHOD OF SOLICITATION
                                                                                            DPAS (15 CFR 700)
       SEE SCHEDULE
                                                                                                                                         RFQ             IFB               RFP
15. DELIVER TO                                             CODE                 16. ADMINISTERED BY                                                        CODE      SPE605

                                                                                     SEE BLOCK 9
   SEE SCHEDULE                                                                      Criticality: PAS : None



17a. CONTRACTOR/       CODE      83FT4                FACILITY                  18a. PAYMENT WILL BE MADE BY                                               CODE       SL4701
     OFFEROR                                          CODE

   ALL AMERICAN REFINERY INC DBA                                                      DEF FIN AND ACCOUNTING SVC
   All American Refinery,Inc                                                          BSM
   9423 OLD HERMITAGE PKWY STE 1                                                      P O BOX 182317
   BATON ROUGE LA 70810-6893                                                          COLUMBUS OH 43218-2317
   USA                                                                                USA

TELEPHONE NO.       6013353298
     17b. CHECK IF REMITTANCE IS DIFFERENT AND PUT SUCH ADDRESS IN 18b. SUBMIT INVOICES TO ADDRESS SHOWN IN BLOCK 18a UNLESS BLOCK
          OFFER                                                         BELOW IS CHECKED.      SEE ADDENDUM

      19.                                            20.                                                      21.           22.             23.                     24.
   ITEM NO.                            SCHEDULE OF SUPPLIES/SERVICES                                       QUANTITY        UNIT         UNIT PRICE                AMOUNT




                   See Schedule




25. ACCOUNTING AND APPROPRIATION DATA                                                                                     26. TOTAL AWARD AMOUNT (For Govt. Use Only)


    27a. SOLICITATION INCORPORATES BY REFERENCE FAR 52.212-1, 52.212-4. FAR 52.212-3 AND 52.212-5 ARE ATTACHED. ADDENDA                           ARE          ARE NOT ATTACHED.

    27b. CONTRACT/PURCHASE ORDER INCORPORATES BY REFERENCE FAR 52.212-4. FAR 52.212-5 IS ATTACHED. ADDENDA                                        ARE          ARE NOT ATTACHED.

     28. CONTRACTOR IS REQUIRED TO SIGN THIS DOCUMENT AND RETURN                                       29. AWARD OF CONTRACT: REF. ALL AMERICAN REFINERY INC DBA             OFFER
     COPIES TO ISSUING OFFICE. CONTRACTOR AGREES TO FURNISH AND
                                                                                                 DATED            2020-May-29
                                                                                                                     . YOUR OFFER ON SOLICITATION (BLOCK 5),
  DELIVER ALL ITEMS SET FORTH OR OTHERWISE IDENTIFIED ABOVE AND ON ANY                           INCLUDING ANY ADDITIONS OR CHANGES WHICH ARE SET FORTH ,
  ADDITIONAL SHEETS SUBJECT TO THE TERMS AND CONDITIONS SPECIFIED                                HEREIN IS ACCEPTED AS TO ITEMS: Amd 0001 - 0009
30a. SIGNATURE OF OFFEROR/CONTRACTOR                                            31a. UNITED STATES OF AMERICA (SIGNATURE OF CONTRACTING OFFICER)



30b. NAME AND TITLE OF SIGNER (Type or Print)                30c. DATE SIGNED   31b. NAME OF CONTRACTING OFFICER (Type or Print)                                31c. DATE SIGNED

                                                                                      Juebiline Mbandi
                                                                                                                                                                      2020 AUG 31
                                                                                      Juebiline.Mbandi@dla.mil

AUTHORIZED FOR LOCAL REPRODUCTION                                                                                               STANDARD FORM 1449                 (REV.
PREVIOUS EDITION IS NOT USABLE
                                                                                                                                       Prescribed by GSA - FAR (48 CFR) 53.212
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      19.                                    20.                                       21.          22.           23.                 24.
   ITEM NO.                     SCHEDULE OF SUPPLIES/SERVICES                       QUANTITY       UNIT       UNIT PRICE            AMOUNT




32a. QUANTITY IN COLUMN 21 HAS BEEN

   RECEIVED            INSPECTED         ACCEPTED, AND CONFORMS TO THE CONTRACT, EXCEPT AS NOTED:

32b. SIGNATURE OF AUTHORIZED GOVERNMENT               32c. DATE           32d. PRINTED NAME AND TITLE OF AUTHORIZED GOVERNMENT
    REPRESENTATIVE                                                             REPRESENTATIVE




 32e. MAILING ADDRESS OF AUTHORIZED GOVERNMENT REPRESENTATIVE             32f. TELEPHONE NUMBER OF AUTHORIZED GOVERNMENT REPRESENTATIVE



                                                                          32g. E-MAIL OF AUTHORIZED GOVERNMENT REPRESENTATIVE


33. SHIP NUMBER           34. VOUCHER NUMBER       35. AMOUNT VERIFIED     36. PAYMENT                                       37. CHECK NUMBER
                                                       CORRECT FOR

    PARTIAL       FINAL                                                          COMPLETE             PARTIAL        FINAL

 38. S/R ACCOUNT NO.      39. S/R VOUCHER NUMBER   40. PAID BY


 41a. I CERTIFY THIS ACCOUNT IS CORRECT AND PROPER FOR PAYMENT       42a. RECEIVED BY (Print)
 41b. SIGNATURE AND TITLE OF CERTIFYING OFFICER    41c. DATE
                                                                     42b. RECEIVED AT (Location)


                                                                     42c. DATE REC'D (YY/MM/DD)           42d. TOTAL CONTAINERS



                                                                                                    STANDARD FORM 1449            (REV. 2/2012)
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SECTION F - DELIVERIES OR PERFORMANCE
52.247-34 F.O.B. DESTINATION (NOV 1991) FAR


SECTION I - CONTRACT CLAUSES
52.204-19 INCORPORATION BY REFERENCE OF REPRESENTATIONS AND CERTIFICATIONS (DEC 2014) FAR
252.204-7009 LIMITATIONS ON THE USE OR DISCLOSURE OF THIRD-PARTY CONTRACTOR REPORTED CYBER INCIDENT
INFORMATION (OCT 2016) DFARS
252.204-7012 SAFEGUARDING COVERED DEFENSE INFORMATION AND CYBER INCIDENT REPORTING (DEC 2019) DFARS
252.215-7014 EXCEPTION FROM CERTIFIED COST OR PRICING DATA REQUIREMENTS FOR FOREIGN MILITARY SALES INDIRECT
OFFSETS (JUN 2018) DFARS
52.232-40 PROVIDING ACCELERATED PAYMENTS TO SMALL BUSINESS SUBCONTRACTORS (DEC 2013) FAR
252.232-7006 WIDE AREA WORKFLOW PAYMENT INSTRUCTIONS (DEC 2018) DFARS
(a) Definitions. As used in this clause-
“Department of Defense Activity Address Code (DoDAAC)” is a six position code that uniquely identifies a unit, activity, or organization.
“Document type” means the type of payment request or receiving report available for creation in Wide Area WorkFlow (WAWF).
“Local processing office (LPO)” is the office responsible for payment certification when payment certification is done external to the entitlement
system.
(b) Electronic invoicing. The WAWF system is the method to electronically process vendor payment requests and receiving reports, as
authorized by DFARS 252.232-7003, Electronic Submission of Payment Requests and Receiving Reports.
(c) WAWF access. To access WAWF, the Contractor shall-
   (1) Have a designated electronic business point of contact in the System for Award Management at https://www.acquisition.gov; and
   (2) Be registered to use WAWF at https://wawf.eb.mil/ following the step-by-step procedures for self-registration available at this web site.
(d) WAWF training. The Contractor should follow the training instructions of the WAWF Web-Based Training Course and use the Practice
Training Site before submitting payment requests through WAWF. Both can be accessed by selecting the “Web Based Training” link on the
WAWF home page at https://wawf.eb.mil/
(e) WAWF methods of document submission. Document submissions may be via web entry, Electronic Data Interchange, or File Transfer
Protocol.
(f) WAWF payment instructions. The Contractor must use the following information when submitting payment requests and receiving reports
in WAWF for this contract/order:
   (1) Document type. The Contractor shall use the following document type(s).


   (Contracting Officer: Insert applicable document type(s).
   Note: If a “Combo” document type is identified but not supportable by the Contractor's business systems, an “Invoice” (stand-alone) and
   “Receiving Report” (stand-alone) document type may be used instead.)
   (2) Inspection/acceptance location. The Contractor shall select the following inspection/acceptance location(s) in WAWF, as specified
   by the contracting officer.


   (Contracting Officer: Insert inspection and acceptance locations or “Not applicable.”)
  (3) Document routing. The Contractor shall use the information in the Routing Data Table below only to fill in applicable fields in WAWF
  when creating payment requests and receiving reports in the system.
Routing Data Table*

                                Data to be entered in
  Field Name in WAWF
                                       WAWF
  Pay Official DoDAAC                  SL4701
   Issue By DoDAAC                     SPE605
    Admin DoDAAC                       SPE605
  Inspect By DoDAAC              SEE SCHEDULE
      Ship To Code               SEE SCHEDULE
    Ship From Code

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SECTION I - CONTRACT CLAUSES (CONTINUED)

                               Data to be entered in
  Field Name in WAWF
                                      WAWF
    Mark For Code
   Service Approver
       (DoDAAC)
   Service Acceptor              SEE SCHEDULE
       (DoDAAC)
Accept at Other DoDAAC
    LPO DoDAAC
 DCAA Auditor DoDAAC
   Other DoDAAC(s)
  (*Contracting Officer: Insert applicable DoDAAC information or “See schedule” if multiple ship to/acceptance locations apply, or “Not
  applicable.”)
  (4) Payment request and supporting documentation. The Contractor shall ensure a payment request includes appropriate contract line
  item and subline item descriptions of the work performed or supplies delivered, unit price/cost per unit, fee (if applicable), and all relevant
  back-up documentation, as defined in DFARS Appendix F, (e.g. timesheets) in support of each payment request.
  (5) WAWF email notifications. The Contractor shall enter the e-mail address identified below in the “Send Additional Email Notifications”
  field of WAWF once a document is submitted in the system.


  (Contracting Officer: Insert applicable email addresses or “Not applicable.”)
(g) WAWF point of contact.
  (1) The Contractor may obtain clarification regarding invoicing in WAWF from the following contracting activity's WAWF point of contact.


  (Contracting Officer: Insert applicable information or “Not applicable.”)
  (2) For technical WAWF help, contact the WAWF helpdesk at 866-618-5988.
                                                  (End of clause)
52.233-3 PROTEST AFTER AWARD (AUG 1996) FAR
252.244-7000 SUBCONTRACTS FOR COMMERCIAL ITEMS (JUN 2013) DFARS
52.253-1 COMPUTER GENERATED FORMS (JAN 1991) FAR
252.204-7018 PROHIBITION ON THE ACQUISITION OF COVERED DEFENSE TELECOMMUNICATIONS EQUIPMENT OR SERVICES
(DEC 2019) DFARS
                                                                               Case
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                                                                              Grantham et al.

                                                                                 Exhibit
                                                                                   9
